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4.23.2 Hazardous Materials

Prior to acquisition of right-of-way and construction, Preliminary Site Investigations (PSIs) would be
conducted to further investigate properties within and in the vicinity of the Preferred Alternative LOD that
have a high potential for mitigation contaminated materials exposed during construction activities (refer
to Section 4.10 for additional details). Proposed investigation for the high concern sites should adequately
characterize surficial and subsurface soils, as well as groundwater, if anticipated to be encountered.
Sample locations should take into account locations of previous releases, former/current/abandoned
storage tanks, and inferred groundwater flow, as well as proposed soil/groundwater disturbance during
construction. The Developer would be required to use best management practices to minimize the release
of any hazardous materials during construction.

4.23.3 Air Quality

Most emissions associated with construction are considered short-term or temporary in nature. The
primary air quality concerns during construction would be a potential short-term localized increase in the
concentration of fugitive dust (including airborne PM2s5 and PMio), as well as mobile source emissions,
including pollutants such as CO. To minimize the amount of emissions generated, efforts would be made
during construction to limit traffic disruptions, especially during peak travel hours. A quantitative analysis
of the construction-related GHG emissions for the Preferred Alternative will be conducted using FHWA’s
Infrastructure Carbon Estimator tool. The results of that analysis will be included in the FEIS.

Mobile source emissions include pollutants such as CO. Since CO emissions from motor vehicles generally
increase with decreasing vehicle speed, disruption of traffic during construction (such as temporary
reduction of roadway capacity and increased queue lengths) could result in short-term elevated
concentrations of CO. To minimize the amount of emissions generated, efforts would be made during
construction to limit traffic disruptions, especially during peak travel hours.

Construction and subsequent maintenance of the project would also generate GHG emissions.
Preparation of the roadway corridor (e.g., earth-moving activities) involves a considerable amount of
energy consumption and resulting GHG emissions; manufacture of the materials used in construction and
fuel used by construction equipment also contribute to GHG emissions; and on-road vehicle delay during
construction would also increase fuel use, resulting in GHG emissions. A quantitative analysis of the
construction related GHG emissions for the Preferred Alternative will be conducted using FHWA’s
Infrastructure Carbon Estimator tool. The results of that analysis will be included in the FEIS.

During construction the contractor may use some or all of the following dust control measures, to
minimize and mitigate, to the greatest extent practicable, impacts to air quality:

e Minimize land disturbance;

e Cover trucks when hauling soil, stone, and debris (MDE Law);

e Use water trucks to minimize dust;

e Use dust suppressants if environmentally acceptable;

e Stabilize or cover stockpiles;

* Construct stabilized construction entrances per construction standard specifications;
e Regularly sweep all paved areas including public roads;

e Stabilize onsite haul roads using stone; and

« Temporarily stabilize disturbed areas per MDE erosion and sediment standards.

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4.23.4 Noise

Noise would be generated from the construction of the highway improvements and the noise barriers.
(Refer to Section 4.9 for additional details). The Developer would be responsible for developing a
construction work sequence that minimizes the duration of time without a noise barrier in place.

Land uses that are sensitive to vehicular noise are also sensitive to construction noise. Despite highway
construction being a short-term phenomenon, significant noise impacts can occur. The extent and severity
of these impacts depend on the phase of construction and the noise characteristics of construction
equipment being used. As with any major construction project, areas around the construction site are
likely to experience varied periods and degrees of noise impact. This type of project will likely employ the
following equipment, which could be a source of construction noise: bulldozers and earthmovers; front-
end loaders; dumps and other diesel trucks; and compressors. Generally, sensitive land uses near
construction zones may experience noise levels between 78 dB(A) and 83 dB(A). Maintenance and
adjustments to equipment, temporary noise barriers, construction of permanent noise barriers first
where possible, variation of construction activity areas, public involvement, and financial incentives to
contractors are all mitigation procedures that can decrease temporary noise impacts. During final design,
these mitigation measures will be considered to minimize public exposure to short-term noise impacts.
Wherever possible, the Developer will be required to construct any proposed noise barrier prior to
demolishing the existing sound barrier. This would reduce noise and screen neighborhoods from
construction activities. Where a proposed noise barrier cannot be constructed prior to demolishing an
existing noise barrier, the Developer will be required to begin construction of the new noise barrier within
60 days of beginning the existing sound barrier demolition; the developer would also be required to
continue construction operations of the proposed noise barrier until it is completed. Contract provisions
will allow the P3 Developer to salvage and reuse certain sound barrier materials to minimize construction
duration. These provisions were added to reduce construction impacts to surrounding properties.

4.24 Commitment of Resources

4.24.1 Irreversible and Irretrievable Commitment of Resources

The construction of the Preferred Alternative would result in the commitment of natural, physical, and
financial resources that would be irreversible and irretrievable. The irreversible dedication of land to
transportation use for the construction of the Preferred Alternative would render the land unusable for
any other use. Approximately 115.9 acres of land converted to transportation use under the Preferred
Alternative, 97.2 acres of permanent and 18.7 temporary impacts (refer to Section 4.1.3, Table 4-2). Land
used in the construction and operation of the proposed facility (right-of-way) is considered an irreversible
commitment during the time period that the land is used for a transportation facility.

As part of this permanent land alteration, approximately 500 acres of forest canopy (refer to Section
4.16.3, Table 4-37), 4.3 acres of wetlands, and 45,779.7 linear feet of streams (refer to Section 4.12.3,
Table 4-25) have the potential to be affected by the Preferred Alternative. While forest, stream and
wetland mitigation would account for some of these losses, these individual distinct ecosystems could be
irreversibly impacted.

Significant amounts of fossil fuels, electricity, labor, and highway construction materials would be
irretrievably expended for the construction of the Preferred Alternative. Anticipated construction
materials would include aggregates, asphalt, cement, gravel, and sand. Concrete and steel would be

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required for bridges and other structures such as retaining walls and noise barriers. Fuel, electricity, and
labor required to manufacture, transport, and install these materials would be irretrievably lost. No long-
term impacts to construction-related resources are anticipated for the Preferred Alternative.

Since the managed lanes would generate toll revenue, the anticipated construction costs could be
recouped over time. Projects that include a future revenue source such as tolls may be constructed with
no direct state and federal funding upfront. The I-495 & |I-270 P3 Program has a goal to implement the
improvements at no net cost to the State. However, if a state subsidy is required, it would typically be
paid to the Developer at the beginning of the contract, whereas if positive excess cashflows are
anticipated, they could be paid to the State at the beginning of the contract and/or as revenue sharing
payments to the State during the operation of the facility.

The commitment of these resources is based on the concept that residents in the immediate area, state,
and region would benefit from the improved quality of the transportation system. These benefits would
consist of reduced congestion, enhanced trip reliability, additional roadway choices, and improved
movement of goods and services, as described in Chapters 1 and 2, which are expected to outweigh the
commitment of the irreversible and irretrievable resources.

4.24.2 Short-Term Effects/Long-Term Effects

Short-term impacts to resources in relation to long-term productivity have been evaluated in accordance
with (42 USC 4332(C)(iv)) and guidelines published by the Council on Environmental Quality on
implementing NEPA (40 CFR 1502.16). This analysis qualitatively discusses the relationship between short-
term impacts to and use of resources, and the long-term benefits and productivity of the environment.
For this analysis, short-term refers to the estimated three-to-five-year period of construction, the time
when the largest number of temporary environmental effects is most likely to occur. Long-term refers to
the more than 100-year life span estimated for the proposed improvements. This section discusses
whether the short-term uses of environmental resources by the proposed improvements would affect
(either positively or negatively) the long-term productivity of the environment.

A. Short-Term Impacts

Construction of the Preferred Alternative would result in short-term impacts, as described in Chapter 2,
Section 2.3.4.

An increase in employment and job opportunities for future permitting and design, construction workers,
suppliers, and inspectors would result during construction of the Preferred Alternative. As of the time of
this document, more than $3 billion in private infrastructure investment will support economic
development and job growth in communities and the region with over 7,500 jobs/year during
construction. This short-term employment, use of materials to construct the improvements, and
purchases of goods and services generated by construction could create a short-term improvement in the
local economy that would diminish once the construction is completed. Workers who live in the region
may fill these new positions or it is possible that people may move to the area as a result of the job
opportunities created by the project. The concentration of workers within the area would stimulate the
local economy by increasing business at area commercial and retail establishments. Increased sales tax
would be derived from the commercial sales and from the sales of materials required for construction.

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During construction, detours may be required rerouting travelers to other area roadways. Some travelers
may choose to take alternate routes to avoid construction areas and further delays. The use of alternate
routes may increase fossil fuel usage and could result in loss of business for commercial establishments
thereby lowering sales tax revenues. Rerouting may lead to increased congestion and delays on the detour
routes.

Expanding roadway alignments, materials storage areas, and movement of construction vehicles may
result in the removal of existing vegetation. A temporary increase in air quality and noise impacts are
expected. Water resources would also be needed for construction activities including mixing aggregate
materials, road wetting, and landscaping.

B. Long-Term Impacts

The long-term impacts and benefits of the implementation of the Preferred Alternative would remain for
the duration of the facility’s life. The increased capacity and reduced traffic congestion would result in
more efficient use of fossil fuels.

Reduced congestion, enhanced trip reliability, and additional roadway choices would result in quicker trips
and commutes for drivers. Improved movement of goods and services would benefit the local and regional
economy. Generally, logistics costs decrease as trucks and commercial vehicles travel in less congested
conditions, spending less time en route, thus improving supply chain fluidity for regional industries
dependent on truck traffic.

Improving congestion and reducing the amount and duration of idle traffic would result in decreased air
pollution. Together, these effects would result in an enhanced overall environment for the many
communities in Maryland along |-495, I-270, and the greater National Capital area.

The implementation of the Preferred Alternative would require permanent conversion of property to
transportation uses. Real estate taxes paid of those properties would be eliminated. These long-term loses
may be offset by areas adjacent to the improvements that experience induced growth.

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5 UPDATED DRAFT SECTION 4(F) EVALUATION

This Updated Draft Section 4{f) Evaluation provides information focused on the Preferred
Alternative being studied in the Supplemental Draft Environmental Impact Statement
(SDEIS). This supplemental information does not replace the DEIS or Draft Section 4(f)
Evaluation published in July 2020. The DEIS documents can be viewed through the following
links on the Program website:

DEIS, Chapter 5: hitps://oplanesmd.com/wp-content/uploads/2020/11/2020-06-
02 DEIS_ 05 Section _4f.pdf

DEIS, Appendix F: https://oplanesmd.com/wp-content/Uploads/2020/07/DEIS_AppF Draft-
Section-4f-Eval web.pdf

This SDEIS Chapter includes the following Updates:

e ldentification of the Preferred Alternative, which is Alternative 9? — Phase 1 South

e Reduced list of Section 4(f) Properties based on the Preferred Alternative limits of
disturbance

e Identification of temporary and permanent impacts to Section 4{f) properties

e Updates on all possible planning to avoid and minimize the use of Section 4({f)
properties within the Preferred Alternatives limits

e Updated Least Overall Harm Analysis and Coordination

The Final Section 4(f) Evaluation, including final mitigation for unavoidable Section 4(f) uses,
will be included with the Final Environmental Impact Statement (FEIS) along with the Least
Overall Harm Analysis conclusion.

5.1 Introduction

Section 4(f) of the US Department of Transportation (USDOT) Act of 1966 as amended (49 USC. 303(c)) is
a Federal law that protects significant publicly-owned parks, recreation areas, wildlife and/or waterfowl
refuges, or any significant public or private historic sites. Section 4(f) applies to all transportation projects
that require funding or other approvals by the USDOT. As a USDOT agency, FHWA must comply with
Section 4(f) and its implementing regulations at 23 CFR 774.

5.1.1 Purpose and Background

Since the publication of the Draft Section 4(f) Evaluation and DEIS in July 2020, the Preferred Alternative
has been identified as Alternative 9 — Phase 1 South. Alternative 9 — Phase 1 South includes the same
improvements proposed as part of Alternative 9 in the DEIS and Draft Section 4(f) Evaluation but limited
to the Phase 1 South limits only (I-495 from the George Washington Memorial Parkway to east of MD 187
and I-270 from I-495 to I-370 and on the I-270 east spur to MD 187). The Preferred Alternative is described
in Section 5.1.2 below. This decision to identify Alternative 9 — Phase 1 South as the Preferred Alternative
was based in part on extensive coordination with and input from agencies and stakeholders, including the
Officials with Jurisdiction (OWJs) for Section 4(f) properties (See DEIS Chapter 5, Section 5.4 for
information on OWJ). Comments received on the DEIS and Draft Section 4(f) Evaluation from agencies and

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stakeholders specifically requested avoidance of significant parkland and historic resources within the
study corridors. The Preferred Alternative is responsive to comments received and aligns the Study to be
consistent with the previously determined phased delivery and permitting approach by limiting the build
improvements to Phase 1 South and avoiding improvements on |-495 east of the I-270 east spur. The

result is complete avoidance of significant Section 4(f) properties within the Study limits, which remain
the same as the DEIS, on |-495 east of the I|-270 east spur to MD 5 in Prince George’s County.

This Updated Draft Section 4(f) Evaluation provides information focused on the potential impacts to
Section 4(f) properties as related to the Preferred Alternative being discussed in the SDEIS. The
information included in this Updated Draft Section 4(f) Evaluation will inform FHWA’s consideration of the

use of Section 4(f) property by the Preferred Alternative. This chapter of the SDEIS provides updated,
supplemental information for the Draft Section 4(f) Evaluation included in DEIS, Appendix F. This
supplemental chapter does not replace the Draft Section 4(f) Evaluation; it only provides additional
analysis. The Section 4(f) Evaluation and this supplement follow established US DOT regulations including
23 CFR 774, FHWA’s 2012 Section 4(f) Policy Paper, and 23 USC 138 and 39 USC 303.

5.1.2 Description of Preferred Alternative

Alternative 9 — Phase 1 South has been identified as the Preferred Alternative and includes two, new high-
occupancy toll (HOT) managed lanes network on portions of I-495 and I-270 (shown in dark blue in Figure
5-1). On 1-495, the Preferred Alternative consists of adding two, HOT managed lanes in each direction
from the George Washington Memorial Parkway in Virginia to east of MD 187. On |-270, the Preferred
Alternative consists of converting the one existing HOV lane in each direction to a HOT managed lane and
adding one HOT managed lane in each direction from !-495 to I-370 and on the I-270 east spur to MD 187.
There is no action, or no improvements included at this time on I-495 east of the I-270 east spur (shown
in light blue in Figure 5-1). Along |-270, the existing collector-distributor (C-D) lane designation from
Montrose Road to I-370 would be removed as part of the proposed improvements.

Figure 5-1: 1-495 & Il-270 Managed Lanes Study Corridors — Preferred Alternative

_ \ Gaithersburg
yo”

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Bethesda

Dulles Tot gay

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Silver Spring

Upper
Marlboro

Ft. Meade

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5.1.3 Changes Since the Draft Section 4(f) Evaluation and DEIS

The Preferred Alternative which includes build improvements only within the Phase 1 South limits avoids
approximately 105 acres of Section 4(f) properties, including both parks and historic resources. In
addition, impacts to several parks and historic resources were reduced following consideration of public
and agency comments received during the DEIS public comment period. MDOT SHA and FHWA
coordinated closely with the OWJs in a series of office and field meetings to identify opportunities to
further avoid and minimize impacts to historic resources and park land including contributing features
within parks such as forested areas, wetlands and waterways within the Preferred Alternative limits of
disturbance (LOD). (Refer to SDEIS, Chapter 7, for a summary of agency coordination.)

Since the DEIS and Draft Section 4(f) Evaluation, substantial efforts to avoid and minimize impacts to park
and historic resources around the American Legion Bridge (ALB) has occurred. MDOT SHA and FHWA met
with the National Park Service (NPS) on December 8, 2020 to discuss the limit of disturbance (LOD) in the
vicinity of the ALB that was presented in the DEIS. The NPS requested that MDOT SHA re-assess the LOD
in the vicinity of the ALB to limit impacts to NPS land and its natural resources. MDOT SHA convened an
‘ALB Strike Team’ composed of national and local experts on bridge design and construction, natural
resources, and cultural resources who were charged with the following mission:

To develop and evaluate alternatives for the replacement of the ALB to avoid impacts, to the greatest
extent practicable, and reduce overall acreage impacts to the Chesapeake and Ohio Canal National
Historical Park (C&O Canal NHP) and George Washington Memorial Parkway units of the NPS.

The ALB Strike Team considered bridge construction approaches to determine if any of the approaches
could further reduce the LOD. The Strike Team conducted detailed investigation of a top-down segmental
construction approach; a top-down cable stayed design approach; and a slide-in place bridge construction
approach. In addition, after field analysis and review of readily available information, MDOT SHA and the
ALB Strike Team determined that access to the existing bridge could be consolidated to the northwest
quadrant along Clara Barton Parkway, eliminating the construction access from the other three quadrants
around the bridge and significantly reducing impacts to NPS land. This would be achieved by constructing
a temporary construction access road entrance off of the Clara Barton Parkway in the northwest quadrant
and installing a temporary bridge over the C&O Canal and a temporary haul road paralleling the C&O Canal
towpath. Refer to Chapter 4, Section 4.4.3 for additional details on the ALB Strike Team’s efforts.

Another focus area for avoidance and minimization was at the Morningstar Tabernacle No. 88 Moses Hall
and Cemetery (Morningstar Cemetery) located adjacent to I-495 inner loop just south of Cabin John
Parkway. In response to comments received on the DEIS and Draft Section 4(f) Evaluation, impacts to the
Morningstar Cemetery boundary were reduced from 0.3 acres (13,068 square feet) reported in the DEIS
for Alternative 9 to approximately 14 square feet of temporary area needed for construction access to
build a noise barrier adjacent to the property. This design refinement also resulted in complete avoidance
of ground disturbance within the cemetery boundary. In July 2021, additional investigation was
conducted to detect and map both potential marked and unmarked graves within and adjacent to the
cemetery boundary. Complete avoidance of the Morningstar Cemetery property has been achieved based
on further design refinements in response to the results of this investigation.

With identification of a Preferred Alternative, design refinements have progressed and quantified impacts
have been further broken down into permanent or long-term effects and temporary or short-term

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construction-related effects. Additional opportunities to avoid, minimize, and mitigate effects will be
considered and the commitments will be documented in the Final Section 4(f) Evaluation and the FEIS.

Since the DEIS, MDOT SHA has further evaluated the ownership of Millennium Garden Park, which was
previously identified as a Section 4(f) property in the Draft Section 4(f) Evaluation. MDOT SHA has
determined that, even though the property is maintained as a park by the City of Rockville, it is owned by
MDOT SHA for transportation use. In accordance with 23 CFR 774.11(h), the Millennium Garden Park
property is not subject to Section 4(f) as it is owned by MDOT SHA for transportation use and has not been
included in this Updated Draft Section 4(f) Evaluation.

5.2 Inventory and Use of Section 4(f) Properties

Regulations at 23 CFR 774.17 define a Section 4(f) property as “publicly-owned land of a public park,
recreation area, or wildlife and waterfowl refuge of national, state, or local significance, or land of an
historic site of national, state, or local significance.” 23 CFR 774.17 further defines “Historic site” to include
any prehistoric or historic district, site, building, structure, or object included in, or eligible for inclusion
in, the National Register of Historic Places (NRHP).

Pursuant to 23 CFR 774.17, a “use” of Section 4(f) property occurs:

(1) When land is permanently incorporated into a transportation facility;
(2) When there is a temporary occupancy of land that is adverse in terms of the statute’s
preservation purpose as determined by the criteria in 23 CFR 774.13(d); that is, when one or

more of the following criteria for temporary occupancy are not met:

e The duration of the occupancy must be less than the time needed for the construction of
the project, and no change of ownership occurs;
e Both the nature and magnitude of the changes to the Section 4(f) land are minimal;

e No permanent adverse physical changes, nor interference with activities or purposes of
the resources on a temporary or permanent basis, are anticipated;

e The land must be returned to a condition that is at least as good as existed prior to the
project; and

e There is documented agreement with the appropriate Federal, State, or local officials
having jurisdiction over the land that the above conditions have been met.

(3) When there is a constructive use of a Section 4(f) property. As defined in 23 CFR 774.15, a
constructive use occurs when the transportation project does not incorporate land from a
Section 4(f) property, but the project's proximity impacts are so severe that the protected
activities, features, or attributes that qualify the property for protection under Section 4(f)
are substantially impaired. The degree of impact and impairment must be determined in
consultation with the Officials with Jurisdiction in accordance with 23 CFR 774.15(d)(3).
Refer to the Section 4(f) Evaluation, Section 1.2.2 A for a preliminary analysis of constructive

use.

An impact to a significant public park, recreation area, or wildlife and waterfowl refuge may be
determined to be de minimis if the transportation use of the Section 4(f) property, including incorporation
of any measure(s) to minimize harm (such as any avoidance, minimization, mitigation, or enhancement

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measures), does not adversely affect the activities, features, or attributes that qualify the resource for
protection under Section 4(f) (23 CFR 774.17). For historic sites, a de minimis impact means that FHWA
has determined (in accordance with 36 CFR 800) that either no historic property is affected by the project
or that the project will have "no adverse effect" on the historic property. A de minimis impact
determination does not require analysis to determine if avoidance alternatives are feasible and prudent,
but consideration of avoidance, minimization, mitigation or enhancement measures should occur.

5.2.1 Overview

The Draft Section 4(f) Evaluation included descriptions of all Section 4(f) properties identified within the
corridor study boundary, the use of Section 4(f) properties for all previously evaluated alternatives, and
discussion of minimization measures for each property. The Preferred Alternative included in this SDEIS
(Alternative 9 — Phase 1 South) avoids the use of Section 4(f) properties within the Study limits outside of
Phase 1 South where no improvements are proposed, resulting in lower overall impacts to Section 4(f)
properties. Table 5-1 presents the Section 4(f) properties impacted by the Preferred Alternative. Each
property with a potential Section 4(f) use is then described in Sections 5.2.2 through 5.2.23 of this
chapter. Table 5-1 notes the Official with Jurisdiction (OWJ) for each Section 4(f) property; the OWJ is
designated in the Section 4(f) regulations and are for the purposes of Section 4(f) only.

The last column in Table 5-1 summarizes, at a high-level, changes to impacts from the DEIS related to
design refinements of the Preferred Alternative LOD at each property. Additional details on changes to
each property since the DEIS are provided in Sections 5.2.2 through 5.2.23. Refinements to the LOD for
the Preferred Alternative included the following elements:

e Profile adjustments and roadway shifts due to mainline widening

e Inclusion of pedestrian and bicycle facilities for roads that cross over I-495 and |-270
e Direct access ramps and exchange ramps for access to the HOT managed lanes

e Interchange ramp relocation, reconfiguration, and tie-ins due to mainline widening

e On-site drainage and stormwater management, including swales, ponds, and large facilities along
the roadside and within interchanges

e Relocation of existing streams, where determined to be feasible
e Culvert extensions, auxiliary pipes, and outfall stabilization areas
e Noise barrier replacement/construction

e Reconstruction of 1-495 and |-270 mainline and interchange ramp bridges over water and
roadways

e ~=©Full replacement of the ALB
e = Utility relocations

e Avoidance and impact minimization of adjacent land uses such as: streams, wetlands, historic
properties, parks, and private properties

e Construction access, staging, materials storage, grading, clearing, and erosion and sediment
control

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Table 5-1: Summary of Section 4(f) Property Use

Section 4(f) Official(s) with | Property | Anticipated | Impact? (acres) Change from DEIS
Property Jurisdiction? Type Section 4(f) Alternative 9
Approval -
George Advisory Public Individual | Total impact
Washington Council on Park and | Evaluation reduced by 7.8
Memorial Historic Historic acres from DEIS
Parkway Preservation Property impact of 12.2 acres
(ACHP), NPS,
Virginia
Department of
Historic
Resources
(VDHR) |
Chesapeake & ACHP, Public Individual | Total impact
Ohio Canal Maryland Park and | Evaluation reduced by 5.3
National Historical Historic acres from DEIS
Historical Park? Trust (MHT), Property impact of 15.4
NPS acres; altered areas
within
transportation use;
revised property
boundary to
combine Public Park
and Historic
Property areas
Clara Barton ACHP, MHT, Public Individual Total impact
Parkway? NPS Park and | Evaluation increased by 0.7
Historic acres from DEIS
Property impact of 1.8 acres;
altered areas within
transportation use;
revised property
boundary to
combine Public Park
and Historic
Property areas
Carderock Springs | MHT Historic De minimis | Total impact
Historic District Property increased by less
than 0.1 acres from
| no impact in DEIS
Gibson Grove MHT Historic Individual Total impact
AME Church Property | Evaluation increased by 0.1
acres from no
impact in DEIS
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Section 4(f) Official(s) with | Property | Anticipated
Property Jurisdiction Type Section 4(f)
Approval -
Cabin John Maryland- Public De minimis
Stream Valley National Park
Park Unit 2 Capital Park
and Planning
Commission
(M-NCPPC)
Montgomery
County, NCPC
Burning Tree Club | MHT Historic De minimis
Property
Academy Woods MHT Historic De minimis
Property
Cabin John M-NCPPC Public Individual
Regional Park Montgomery Park Evaluation
County
Tilden Woods M-NCPPC Public De minimis
Stream Valley Montgomery Park
Park County
Old Farm M-NCPPC Public De minimis
Neighborhood Montgomery Park
Conservation County
Area
Cabin John M-NCPPC Public De minimis
Stream Valley Montgomery Park
Park Unit 6 County
Cabin John City of Public Individual
Stream Valley Rockville Park Evaluation
Park (Rockville) Department of
Recreation
and Parks
Bullards Park and | City of Public Individual
Rose Hill Stream Rockville Dept. | Park Evaluation
Valley Park of Recreation
and Parks
Rockmead Park City of Public De minimis
Rockville Park
Department of
Recreation
and Parks

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Impact? (acres)

Change from DEIS
Alternative 9

| Total impact

increased by 0.3
acres from DEIS
impact of 1.1 acres

| Total impact

increased by 0.5
acres from DEIS
impact of 0.8 acres

| No change

| Total impact

increased by 0.6
acres from DEIS

| impact of 5.7 acres

Total impact
increased by 0.5
acres from DEIS

| impact of 0.2 acres

No change

| Total impact

increased by 0.4
acres from DEIS

| impact of 0.4 acres

No change

Total impact

increased by 3.0
acres from DEIS
impact of 0.3 acres,
impact likely greater

| than de minimis

| Total impact

increased by 0.1
acres from DEIS
impact of 0.2 acres

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Section 4(f) Official(s) with | Property | Anticipated | Impact? (acres) Change from DEIS
Property Jurisdiction’ Type Section 4(f) Alternative 9
Approval
Woottons Mill City of Public De minimis Permanent: 0.7 Total impact
Park Rockville Park Temporary: 0.0 increased by 0.5
Department of Total: 0.7 acres from DEIS
Recreation impact of 0.2 acres
and Parks
Woodley Gardens | MHT Historic De minimis Permanent: 1.2 Total impact
Property Temporary: 0.1 increased by 0.6
Total: 1.3 acres from DEIS
impact of 0.7 acres
Rockville Senior City of Public De minimis | Permanent: 1.0 Total impact
Center and Park Rockville Park and Temporary: 0.0 increased by 0.3
Department of | Historic Total: 1.0 acres from DEIS
Recreation Property impact of 0.7 acres
and Parks,
MHT
Ward Building MHT Historic De minimis Permanent: 0.2 Total impact
Property Temporary: 0.0 increased by 0.1
Total: 0.2 acres from DEIS
impact of 0.1 acres
Malcolm King City of Public Individual Permanent: 1.3 Total impact
Park Gaithersburg | Park Evaluation Temporary: 0.0 increased by 1.2
Department of Total: 1.3, acres from DEIS
Parks, impact of 0.1 acres,
Recreation impact likely greater
and Culture than de minimis
Morris Park City of Public Individual Permanent: 1.1 Total impact
Gaithersburg Park Evaluation Temporary: 0.0 increased by 1.0
Department of Total: 1.1 acres from DEIS
Parks, impact of 0.1 acres,
Recreation impact likely greater
and Culture than de minimis

Note: 1. Virginia Department of Historic Resources (VDHR) serves as the Virginia State Historic Preservation Office; Maryland
Historical Trust (MHT) serves as the Maryland State Historic Preservation Office.

2.All impacts rounded to the tenths. The DEIS impacts reflect Build Alternative 9. For purposes of determining Section 4(f) use,
temporary impacts are considered short-term, construction related activities that do not require permanent incorporation of a
Section 4(f) resource into a transportation facility. Short-term, construction related work includes but is not limited to
construction staging, material and equipment storage, construction access easements, and other areas needed to support the
construction, but not part of the long-term improvement.

3. Section 4(f) impacts to C&O Canal NHP and Clara Barton Parkway as currently noted in Chapter 5 exclude the area that currently
has an existing transportation use. The area within NPS property defined as transportation use includes existing |-495 at-grade
roadway sections to the toe of slope, Clara Barton Parkway Interchange ramp sections to the toe of slope, existing pier locations
for the structure over the C&O Canal and eastbound Clara Barton Parkway, and existing pier locations for the American Legion
Bridge.

While the Study limits remain the same as noted in the DEIS, the limits of build improvements under the
Preferred Alternative are limited to Phase 1 South only. There is no action or no improvements included
at this time on I-495 east of the I-270 east spur to MD 5. Therefore, the Preferred Alternative would avoid
the use of 38 Section 4(f) properties that were previously reported as Section 4(f) uses in the DEIS and

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Draft Section 4(f) Evaluation, totaling approximately 105 acres. The properties avoided and acreage of
Section 4(f) use previously included in the DEIS are included in Table 5-2.

Table 5-2: Avoided Section 4(f) Use by the Preferred Alternative

Section 4(f) Properties No Longer Impacted by the Preferred Acres of Avoided Section 4(f) Use
Alternative

Andrews Manor Park 2.6
Baltimore Washington Parkway 69.3
Beckett Field 0.2
Beltsville Agricultural Research Center (BARC) 0.5
Blair Local Park 0.4
Buddy Attick Lake Park 0.1
Calvary Evangelical Lutheran Church <0.1
Carsondale 0.1
Cherry Hill Road Park 18
Douglas E. Patterson Park 0.7
Fleming Local Park 0.1
Forest Glen Historic District 0.2
Forest Glen Neighborhood Park 0.3
Glenarden Historic District 0.8
Greenbelt Historic District 0.3
Greenbelt Park 0.6
Grosvenor Estate (Wild Acres) 0.1
Henry P. Johnson Park <0.1
Henson Creek Stream Valley Park 0.1
Heritage Glen Park 0.5
Hollywood Park <0.1
Indian Spring Club Estates and Indian Spring Country Club 1.2
Indian Springs Park (City of Greenbelt) 0.1
Indian Springs Terrace Local Park 1.4
Locust Hill Neighborhood Park 0.3
Manchester Estates Park 0.5
McDonald Field <0.1
Metropolitan Branch, Baltimore & Ohio Railroad 8.8
Montgomery Blair High School Athletic Fields 1.4
Morningstar Tabernacle No. 88 Moses Hall and Cemetery 0.3
National Park Seminary Historic District / Forest Glen 1.2
Northwest Branch Stream Valley Park, Unit 3 3.2
Rock Creek Stream Valley Park, Unit 2 0.4
Rock Creek Stream Valley Park, Unit 3 3.3
Sligo Creek Parkway 4.1
South Four Corners Neighborhood Park 0.1

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Section 4(f) Properties No Longer Impacted by the Preferred Acres of Avoided Section 4(f) Use
Alternative

Southwest Branch Stream Valley Park 0.3

Suitland Parkway 0.3

TOTAL ACRES AVOIDED 105.6

Note: all avoided impacts presented are relative to DEIS Alternative 9.

Properties that would experience a Section 4(f) use from the Preferred Alternative are detailed in Sections
5.2.2 through 5.2.23 below. Within the Preferred Alternative LOD, there are four properties subject to the
Capper Cramton Act and one property, the C&O Canal NHP, subject to Section 6(f). Refer to Chapter 4,
Section 4.4 and Table 4-9 for discussion of park properties subject to the Capper Cramton Act. Section
1.2.8 in the Draft Section 4(f) Evaluation includes additional information on other relevant authority
including Capper Cramton Act of 1930 and Section 6(f) of the Land and Water Conservation Act (DEIS,
Appendix F).

§.2.2 George Washington Memorial Parkway
Type of Section 4(f) Property: Historic Property and Public Park

Officials with Jurisdiction: NPS, VDHR
Type of Section 4(f) Approval: Individual Evaluation

George Washington Memorial Parkway is a publicly-owned park and NRHP-listed historic district that
extends along the Potomac River from |-495 to Mount Vernon in Virginia. The George Washington
Memorial Parkway is administered by the NPS. The George Washington Memorial Parkway is a scenic
roadway honoring the nation’s first president that protects and preserves cultural and natural resources
along the Potomac River below Great Falls to Mount Vernon. It is also a historic district listed in the NRHP
for its association with twentieth-century parkway design, engineering, landscape architecture, park
planning and conservation, commemoration, and its association with George Washington. Features within
George Washington Memorial Parkway include the Potomac Heritage National Scenic Trail and Turkey
Run Park conservation area. The park boundary of George Washington Memorial Parkway extends 38.3
miles and comprises approximately 7,300 acres, including all administrative units and features. Clara
Barton Parkway (Section 5.2.4) is part of the larger George Washington Memorial Parkway Historic District
with a separate historic boundary in Maryland.

George Washington Memorial Parkway is also a historic district that was listed in the NRHP on June 2,
1995. It is historically significant under Criterion B for its association with the life of George Washington
and Criterion C for its embodiment of the distinctive characteristics of a parkway.

The Preferred Alternative would result in a Section 4(f) use of 4.4 acres of George Washington Memorial
Parkway (Figure 5-2), including 0.7 acres of permanent impact and 3.7 acres of temporary impact. This
impact has been reduced by 7.8 acres compared to the total impact of 12.2 acres reported in the DEIS for
Alternative 9.

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Figure 5-2: George Washington Memorial Parkway

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Section 4(f)

Limits of Disturbance Trails Property
PY) Lon Decrease from DEIS Potential 4(f) Use ‘
EX LOD Increase from DEIS Property Lines. George Washington
Memorial Parkway

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The impacts to George Washington Memorial Parkway would be required to accommodate access for
construction activities to build the new American Legion Bridge and remove the existing structure; the
construction, operation, and future maintenance of new direct access ramps to the managed lanes on I-
495; the installation, operation, and future maintenance of electrical conduit and permanent signage to
inform the traveling public of toll rates and operation of the facility, resurfacing of George Washington
Memorial Parkway for maintenance of traffic during construction, construction of a shared use path along
the 1-495 inner loop and retaining wall. Detailed mapping of the Preferred Alternative design at George
Washington Memorial Parkway can be found in SDEIS, Appendix D — Maps 2-4.

The Preferred Alternative may result in temporary impacts to the Potomac Heritage National Scenic Trail
during construction. A detour would be provided for users of the Potomac Heritage National Scenic Trail
if impacted during construction of the Preferred Alternative. The trail would be restored after construction
is completed. No other recreational facilities within George Washington Memorial Parkway would be
impacted by the Preferred Alternative.

The decrease in impact from the DEIS is due to minimization measures applied at the ALB. MDOT SHA
conducted extensive minimization efforts to reduce impacts in the vicinity of the ALB, including impacts
to George Washington Memorial Parkway, by evaluating alternative bridge designs and construction
staging methods and coordinating with NPS as described in Section 5.1.3 and Chapter 4, Section 4.4.3.
Minimization efforts resulted in the elimination of a construction access area within George Washington
Memorial Parkway that was previously to be used for the location of a construction crane. A new
interchange configuration pulled roadwork off the George Washington Memorial Parkway mainline within
the park boundary, and a refined signing layout was developed limiting ground disturbance to only those
areas where signs will be removed or placed and where electrical conduit must be placed. Through
coordination with NPS, a retaining wall was included in the design adjacent to the proposed shared use
path that runs parallel to I|-495 to further reduce impacts.

Coordination is ongoing with NPS to identify parkland mitigation opportunities. Potential mitigation
measures under consideration include acquisition of replacement parkland; wetland restoration;
reforestation; trail improvements; and species-specific mitigations for RTE plant species. Mitigation for
the use of George Washington Memorial Parkway would also be consistent with stipulations identified in
the Section 106 Programmatic Agreement and would be coordinated with the MHT and Section 106
consulting parties. Final mitigation commitments including all possible planning to minimize harm will be
included in the Final Section 4(f) Evaluation and FEIS.

§.2.3. Chesapeake and Ohio Canal National Historical Park
Type of Section 4(f) Property: Historic Property and Public Park

Officials with Jurisdiction: MHT, NPS
Type of Section 4(f) Approval: Individual Evaluation

The Chesapeake and Ohio Canal National Historical Park (C&O Canal NHP) is an NRHP-listed historic district
and publicly-owned park and recreation area encompassing 19,575 acres. The C&O Canal NHP stretches
along the Potomac River from Rock Creek at Georgetown in Washington, DC, to Cumberland, Maryland,
for 184.5 miles. Construction on the C&O Canal began in 1828 and concluded in 1850. The C&O Canal

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became a unit of the NPS as a national monument in 1961 and then established as a national historical
park in 1971.

The C&O Canal NHP was designated to preserve and interpret the 19th century transportation canal and
its associated scenic, natural, and cultural resources; and to provide opportunities for education and
appropriate outdoor recreation. The C&O Canal NHP is listed on the NRHP and contains more than 1,300
historic structures, including one of the largest collections of 19th century canal features and buildings in
the national park system.

The C&O Canal NHP was listed in the NRHP on October 15, 1966, prior to becoming a national historical
park. A supplementary listing under the name “Chesapeake and Ohio Canal National Historical Park” was
added to the NRHP on February 3, 2015. The C&O Canal NHP is listed in the NRHP under Criteria A, C, and
D. In addition to 455 contributing resources previously listed in the NRHP, the supplemental listing added
796 contributing resources comprising 106 buildings, 175 sites, 483 structures, and 32 objects.

Based on property information provided by NPS, MDOT SHA has now evaluated impacts to the C&O Canal
NHP using a single boundary applicable to both the historic property and public park, rather than two
separate boundaries as reported in the DEIS. This change to use a single boundary was made at the
request of NPS. Impacts to the C&O Canal in the DEIS and Draft Section 4(f) Evaluation were based on
readily available property information which included permits for operation and maintenance of the
existing highway, including an area surrounding the highway, bridges, and ramps. While the intent to
formally transfer property from NPS to MDOT SHA was noted in historical documents, neither NPS nor
MDOT SHA recovered official documentation formalizing the transfer. Therefore, this SDEIS has altered
the area delineated as within transportation use. MDOT SHA, FHWA, and NPS have agreed that Section
A(f) impacts to C&O Canal could exclude the area that currently has an existing transportation use. The
area within NPS property defined as transportation use includes existing |-495 at-grade roadway sections
to the toe of slope, Clara Barton Parkway Interchange ramp sections to the toe of slope, existing pier
locations for the structure over the C&O Canal and eastbound Clara Barton Parkway, and existing pier
locations for the ALB.

The Preferred Alternative would result in a Section 4(f) use of 10.1 acres of the C&O Canal NHP (Figure 5-
3), including 1.0 acre of permanent impact and 9.1 acres of temporary impact. These impacts have
decreased by 5.3 acres compared to the total impact of 15.4 acres reported in the DEIS for Alternative 9.

The impacts to C&O Canal NHP would be required to accommodate a temporary access road for
construction vehicles and materials to build the new ALB and remove the existing structure, the
construction and maintenance of the realigned ramp from |-495 northbound to Clara Barton Parkway, a
temporary bridge crossing of the C&O Canal and towpath, and the construction of a shared-use path on
the east side of the new ALB. Detailed mapping of the Preferred Alternative design at the C&O Canal NHP
can be found in SDEIS, Appendix D — Map 4.

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"Section 4(f)
Property

Limits of Disturbance = ————— Trails

PY) Lon decrease from DEIS Potential 4(f) Use Chesapeake and Ohio
KX LOD Increase from DEIS Property Lines Canal National Historical Park
[7_] Historic Property & Clara Barton Parkway
|) Park Property ° 0.05 O41

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Figure 5-3: Chesapeake and Ohio C&O Canal NHP and Clara Barton Parkway

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The C&O Canal towpath, which functions as a recreational facility, would be temporarily impacted during
construction. The C&O Canal Towpath would be maintained for pedestrian and bike traffic during
construction and would be returned to its original condition upon completion of construction. The
proposed construction access road would be horizontally offset from the C&O Canal Towpath. Note that
pedestrian traffic on the C&O Canal Towpath would be maintained across the proposed construction
access road at all times and the towpath would remain open. Flaggers would be located at the C&O Canal
towpath to ensure safe passage of towpath users during construction. Preliminary conceptual design for
the proposed shared use path is still under review, and alternative configurations are being evaluated and
coordinated with project stakeholders including NPS, Montgomery County Department of Transportation
(MCDOT), and Maryland-National Capital Park and Planning Commission (M-NCPPC) (refer to Section
2.3.8 for the shared-use path options under consideration). No other recreational facilities within the C&O
Canal NHP would be impacted by the Preferred Alternative.

The decrease in impacts at the C&O Canal NHP resulted from minimization measures that have been
applied around the ALB. MDOT SHA conducted extensive minimization efforts to reduce impacts in the
vicinity of the ALB, including impacts to C&O Canal NHP, by evaluating alternative bridge designs,
construction access paths, and construction staging methods in coordination with NPS as described in
Section 5.1.3. Minimization measures include the elimination of one proposed access road east of |-495.
An overall reduction in the LOD was achieved due to the ALB Strike Team analysis, resulting in a proposed
construction method requiring less work area within C&O Canal relative to the DEIS.

On March 12, 2020, MHT concurred that the Study would have an adverse effect on C&O Canal NHP.

Coordination is ongoing with NPS to identify parkland mitigation opportunities. Potential mitigation
measures under consideration include: acquisition of replacement parkland; wetland restoration;
rehabilitation to canal, towpath, and masonry structures; reforestation; and species-specific mitigations
for RTE plant species. Mitigation for the use of C&O Canal NHP would also be consistent with stipulations
identified in the Section 106 Programmatic Agreement and would be coordinated with the MHT and
Section 106 consulting parties. Final mitigation commitments including all possible planning to minimize
harm will be included in the Final Section 4(f) Evaluation and FEIS.

5.2.4 Clara Barton Parkway
Type of Section 4(f) Property: Historic Property and Public Park

Officials with Jurisdiction: MHT, NPS
Type of Section 4(f) Approval: Individual Evaluation

The Clara Barton Parkway is an administrative unit of George Washington Memorial Parkway within
Maryland. Clara Barton Parkway extends 6.6 miles along the northern shore of the Potomac River
between the Naval Surface Warfare Center at Carderock and the Washington, DC border with Maryland.
The historic boundary in Maryland comprises 96.2 acres. Though Clara Barton Parkway has a separate
historic boundary in Maryland, it is part of the larger George Washington Memorial Parkway Historic
District.

Clara Barton Parkway is under the jurisdiction of NPS and was designed for recreational driving, to link
sites that commemorate important episodes in American history, and to preserve habitat for local wildlife.

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The Clara Barton Parkway is also a historic property and was listed in the NRHP on June 2, 1995. It is
historically significant under Criterion B for its association with the life of George Washington and Clara
Barton, persons significant in our past, and Criterion C for its embodiment of the distinctive characteristics
of a parkway.

The Preferred Alternative would result in a Section 4(f) use of 2.5 acres of the Clara Barton Parkway (Figure
5-3), of which 1.6 acres are permanent and 0.9 acres are temporary impacts. This impact has increased by
0.7 acres from the total impact of 1.8 acres reported in the DEIS for Alternative 9.

The impacts to Clara Barton Parkway would be required to accommodate a temporary access road for
construction vehicles and materials to build the new American Legion Bridge (ALB) and remove the
existing structure for reconstruction and maintenance of |-495 northbound ramp to Clara Barton Parkway
and the eastbound Clara Barton Parkway ramp to northbound |-495; and for construction of a trail
connection between a shared-use path on the east side of the new ALB and the existing sidepath along
MacArthur Boulevard. Detailed mapping of the Preferred Alternative design at Clara Barton Parkway can
be found in SDEIS, Appendix D — Maps 4-5.

Impacts to Clara Barton Parkway in the DEIS and Draft Section 4(f) Evaluation were based on readily
available property information which included permits for operation and maintenance of the existing
highway, including an area surrounding the highway, bridges, and ramps. While the intent to formally
transfer property from NPS to MDOT SHA was noted in historical documents, neither NPS nor MDOT SHA
recovered official documentation formalizing the transfer. Therefore, this SDEIS has altered the area
delineated as within transportation use. MDOT SHA, FHWA, and NPS have agreed that Section 4(f) impacts
to C&O Canal NHP and Clara Barton Parkway could exclude the area that currently has an existing
transportation use. The area within NPS property defined as transportation use includes existing I-495 at-
grade roadway sections to the toe of slope, Clara Barton Parkway Interchange ramp sections to the toe of
slope, existing pier locations for the structure over the C&O Canal and eastbound Clara Barton Parkway,
and existing pier locations for the ALB.

Despite the increase in impacts from the DEIS, MDOT SHA conducted extensive efforts to reduce impacts
in the vicinity of the ALB, including impacts to Clara Barton Parkway, by evaluating alternative bridge
designs and construction staging methods and coordinating these efforts with NPS. Detailed construction
evaluation resulted in the elimination of one proposed access road in the southwest quadrant of the
bridge and Potomac River, just south of the Clara Barton Parkway.

Coordination is ongoing with NPS to identify parkland mitigation opportunities. Potential mitigation
measures under consideration include funds to support recommended safety improvements to Clara
Barton Parkway. Mitigation for the use of Clara Barton Parkway would also be consistent with stipulations
identified in the Section 106 Programmatic Agreement and would be coordinated with the MHT and
Section 106 consulting parties. Final mitigation commitments including all possible planning to minimize
harm will be included in the Final Section 4(f) Evaluation and FEIS.

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5.2.5 Carderock Springs Historic District
Type of Section 4(f) Property: Historic Property

Official with Jurisdiction: MHT
Type of Section 4(f) Approval: De Minimis |mpact

Carderock Springs is a planned residential development of 275 modernist houses located northwest of
Bethesda in Montgomery County, Maryland. The Carderock Springs Historic District is significant under
Criterion A as an example of a type of residential development which resulted from the collaborative
efforts of builder Edmund J. Bennett and architects Keyes, Lethbridge, and Condon (KLC) in the suburbs
of Washington, DC. The Carderock Springs Historic District is also significant under Criterion C for its
distinctive examples of modernist houses in a carefully planned and landscaped development designed
to have a “natural” appearance by retaining most of the original vegetation and topography.

The Preferred Alternative would result in a Section 4(f) use of less than 0.1 acres of the Carderock Springs
Historic District (Figure 5-4), including less than 0.1 acres of permanent impact and less than 0.1 acres of
temporary impact. This impact has increased from no impact reported in the DEIS.

The increase in impact from the DEIS is due to design refinements to avoid and minimize impacts to
Morningstar Cemetery located on the opposite side of |-495 from the Carderock Springs Historic District.
The proposed centerline of |-495 is shifted north compared to existing conditions through this section to
avoid and minimize impacts to Morningstar Cemetery. Impact to the Carderock Springs Historic District
is due shifting of the mainline, adding managed lanes exchange ramps, constructing retaining and noise
walls along the outer loop, and clearing and erosion and sediment control measures. Detailed mapping
of the Preferred Alternative design at the Carderock Springs Historic District can be found in SDEIS,
Appendix D— Map 7.

The Preferred Alternative would impact portions of two contributing properties in the Carderock Springs
historic district. No contributing structures would be impacted within the district.

MDOT SHA had included provisions for making an effect determination at a later time (upon design
advancement) to Carderock Springs Historic District under an initial draft Section 106 Programmatic
Agreement. However, based on refined design MDOT SHA anticipates that there would be no adverse
effect, and will coordinate the finding with MHT for concurrence. If MHT concurs, FHWA would make a de
minimis impact determination for the Carderock Springs Historic District. A final de minimis determination
would be documented in the Final Section 4(f) Evaluation and FEIS.

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Figure 5-4: Carderock Springs Historic District

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Section 4(f)
Limits of Disturbance = = Trails
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DY) Lon Decrease from DEIS Potential 4(f) Use nary
EX LOD Increase from DEIS Property Lines Carderock Springs .
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[7_] Historic Property Historic District eee ity at)

| Park Property Ce | et URSA RS Ty

Legend

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5.2.6 Gibson Grove AME Zion Church
Type of Section 4(f) Property: Historic Property

Official with Jurisdiction: MHT
Type of Section 4(f) Approval: Individual Evaluation

Gibson Grove AME Zion Church is a small, wood-frame structure set on a hill overlooking Seven Locks
Road, immediately north of |-495. Gibson Grove AME Zion Church is eligible for the National Register of
Historic Places under Criterion A. The church derives its significance from its association with the African
American settlement of Gibson Grove that was founded in the 1880s by former slaves. The original church
was a log structure that was replaced with the current edifice in 1923. It is the only remaining building
associated with the African American Gibson Grove community.

The Preferred Alternative would result in a Section 4(f) use of 0.1 acres of the Gibson Grove AME Zion
Church property (Figure 5-5), all of which would be permanent impact. This impact has increased by 0.1
acres compared to no impact reported in the DEIS for Alternative 9. The Gibson Grove Church building
will not be directly impacted by the Preferred Alternative.

The increase in impact from the DEIS is due to design refinements including outfall stabilization, culvert
augmentation, bridge reconstruction, and construction access. A shift of the roadway centerline towards
the Gibson Grove AME Zion Church was included in the Preferred Alternative to avoid impacts to
Morningstar Cemetery, located on the opposite side of |-495 from the Gibson Grove Church. Detailed
mapping of the Preferred Alternative design at Gibson Grove AME Zion Church can be found in SDEIS,
Appendix D — Map 8.

MDOT SHA and FHWA are currently assessing the potential for an adverse effect to Gibson Grove AME
Zion Church and has requested concurrence from MHT on the determination pursuant to Section 106.
Mitigation for the use of Gibson Grove AME Zion Church would be consistent with stipulations identified
in the Section 106 Programmatic Agreement and be coordinated with the MHT and Section 106 consulting
parties. Final mitigation commitments including all possible planning to minimize harm will be included in
the Final Section 4(f) Evaluation and FEIS.

5.2.7. Cabin John Stream Valley Park Unit 2
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: M-NCPPC Montgomery County
Type of Section 4(f) Approval: De Minimis Impact

Cabin John Stream Valley Park Unit 2 is one of six units that comprise M-NCPPC Montgomery County’s
Cabin John Stream Valley Park, a publicly-owned park and recreation area. Cabin John Stream Valley Park
Unit 2 extends north-south across |-495 from south of River Road to along Cabin John Parkway, where it
abuts Unit 1 of the park. The entirety of Cabin John Stream Valley Park encompasses 520 acres across six
units; of which Unit 2 comprises approximately 105.0 acres.

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Figure 5-5: Gibson Grove AME Zion Church

Legend Section 4(f)
Limits of Disturbance ——— Trails Property

PY) Lon decrease from DEIS Potential 4(f) Use

KO Lon increase from DEIS Property Lines te

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Gibson Grove
AME Church

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Cabin John Stream Valley Park features portions of the natural-surface Cabin John Trail that runs north-
south and connects the stream valley park’s Potomac Area to Cabin John Parkway. The park also features
undeveloped wooded area that provides a protective buffer along Cabin John Creek.

The Preferred Alternative would result in a Section 4(f) use of 1.4 acres of Cabin John Stream Valley Park,
Unit 2 (Figure 5-6), including 0.8 acres of permanent impact and 0.6 acres of temporary impact. This
impact has increased by 0.3 acres compared to the total impact of 1.1 acres reported in the DEIS for
Alternative 9.

The impacts to Cabin John Stream Valley Park would be required to accommodate widening of 1-495,
replacement of the bridges across Seven Locks Road and Cabin John Parkway and associated construction
access, realigning the interchange with Cabin John Parkway, a proposed noise barrier along the inner loop
of I-495, and providing northbound managed lane access to River Road (Figure 5-6). Along southbound
Cabin John Parkway, there would be impacts due to culvert augmentation and construction of a retaining
wall along the Parkway and resurfacing of Cabin John Parkway for maintenance of traffic. Additionally,
two culverts would be augmented in the southwest quadrant of the |-495 and River Road interchange.
Detailed mapping of the Preferred Alternative design at Cabin John Stream Valley Park Unit 2 can be found
in Appendix D — Maps 8 - 10.

The increase in impact from the DEIS is due to design refinements along |-495 for construction of bridges
and new interchange modifications. The alignment shift of I-495 included to reduce impacts at
Morningstar Cemetery also led to redesigned of the direct access ramp connection to the River Road
interchange which resulted in an increase in LOD at Cabin John Stream Valley Park Unit 2.

No recreational facilities within Cabin John Stream Valley Park Unit 2 would be impacted by the Preferred
Alternative.

FHWA intends to make a de minimis impact determination for Cabin John Stream Valley Park Unit 2 if M-
NCPPC concurs that the Preferred Alternative, after measures to minimize harm are employed, would not
adversely affect the activities, features, or attributes that make the property eligible for Section 4(f)
protection, and in consideration of public comments.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with M-
NCPPC as potential mitigation for parkland impacts. Other mitigation measures under consideration
include a visual barrier at the edge of the ramps along southbound 1-495, stream bank and bed
stabilization, and removal of a concrete lined channel along a tributary to Cabin John Creek. MDOT SHA is
coordinating with M-NCPPC to develop final mitigation commitments at Cabin John Stream Valley Park
Unit 2 including all possible planning to minimize harm to be included in the Final Section 4(f) Evaluation
and FEIS.

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Limits of Disturbance
PY) Lon Decrease from DEIS
KOS Lon increase from DEIS

Y_] Historic Property

lem ] Park Property

Trails
Potential 4(f) Use
Property Lines.

Figure 5-6: Cabin John SVP Unit 2

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5.2.8 Burning Tree Club
Type of Section 4(f) Property: Historic Property

Official with Jurisdiction: MHT
Type of Section 4(f) Approval: De Minimis Impact

Burning Tree Club is a privately-owned, historic golf course in the northeast quadrant of the interchange
of I-495 and River Road. The 221-acre club includes a Tudor Revival clubhouse and 18-hole golf course
built in 1922 and 1923. Burning Tree Club is eligible for the NRHP under Criteria A and C. Burning Tree
Club is significant under Criterion A as an exclusive, male-only social institution devoted to the pastime of
golf, and an example of the type of recreational organization that flourished during the 1920s.

The Preferred Alternative would result in a Section 4(f) use of 1.3 acres of Burning Tree Club (Figure 5-7),
all of which would be permanent impact. This impact has increased by 0.5 acres compared to the total
impact of 0.8 acres reported in the DEIS for Alternative 9.

The impacts to Burning Tree Club would be required to accommodate widening |I-495, the augmentation
of an existing culvert carrying Thomas Branch beneath |-495, construction of a retaining wall, and the
realignment of Thomas Branch along the east side of |-495. Detailed mapping of the Preferred Alternative
design at the Burning Tree Club can be found in SDEIS, Appendix D — Maps 10 and 11.

The increase in impact from the DEIS is due to design refinements, including proposed relocation of
Thomas Branch and utilities, and construction of a headwall structure.

The LOD expansion is located at the edge of the property, along the Capital Beltway. The revised LOD
would not impact the golf course itself or its associated paths and would not alter the characteristics that
qualify the property for the NRHP.

On March 12, 2020, MHT concurred that the Managed Lanes Study would have no adverse effect on
Burning Tree Club and provided written acknowledgement of FHWA’s intent to make a de minimis impact
finding based on the impacts presented in the DEIS. This initial MHT review was conducted prior to recent
design changes and avoidance and minimization efforts. MDOT SHA anticipates that there would still be
no adverse effect to the Burning Tree Club and submitted documentation for concurrence to MHT on
September 8, 2021. Therefore, FHWA still intends to make a de minimis impact determination for Burning
Tree Club provided MHT concurs with the effect determination and acknowledges the intent to make the
de minimis finding. A final de minimis determination would be documented in the Final Section 4(f)
Evaluation and FEIS.

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Figure 5-7: Burning Tree Club

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5.2.9 Academy Woods
Type of Section 4(f) Property: Historic Property

Official with Jurisdiction: MHT
Type of Section 4(f) Approval: De Minimis |mpact

Academy Woods is a Section 4(f) historic property comprised of a small neighborhood on 6.5 acres
northeast of the western I-495 and I-270 spur interchange in Bethesda. The historic district is eligible for
the NRHP under Criterion C as representative of a type, period, and method of construction.

The Preferred Alternative would result in a Section 4(f) use of 0.2 acres of Academy Woods (Figure 5-8),
all of which would be permanent impact. There has been no change compared to the impact reported in
the DEIS for Alternative 9.

The impacts to Academy Woods would be required to accommodate the construction, operation and
future maintenance of a stormwater management facility, and construction of a noise barrier. Detailed
mapping of the Preferred Alternative design at Academy Woods can be found in SDEIS, Appendix D— Map
13.

The impacts to Academy Woods have not changed from those reported for Alternative 9 in the DEIS. Refer
to the DEIS Appendix F, Section 2.2.1 for more detail.

On March 12, 2020, MHT concurred that the Study would have no adverse effect on Academy Woods and
provided written acknowledgement of FHWA’s intent to make a de minimis impact finding. As such, the
impact to Academy Woods Historic District under the Preferred Alternative would constitute a minor use.
FHWA intends to issue a finding of de minimis impact to Academy Woods. A final de minimis determination
would be documented in the Final Section 4(f) Evaluation and FEIS.

5.2.10 Cabin John Regional Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: M-NCPPC Montgomery County
Type of Section 4(f) Approval: Individual Evaluation

Cabin John Regional Park is a publicly-owned park and recreation area situated between Democracy
Boulevard and southbound I-270. The 513.8-acre park contains a playground, dog park, picnic shelters, a
miniature train, grills, horseshoe pits, and restrooms. The park has more than four miles of natural surface
trails and two miles of hard surface trails. Athletic facilities include an indoor ice rink, baseball field, five
softball fields, a volleyball court, and indoor tennis center. The Locust Grove Nature Center and Robert C.
McDonnell Campground are also within the park.

The Preferred Alternative would result in a Section 4(f) use of 6.3 acres of Cabin John Regional Park (Figure
5-9), including 5.7 acres of permanent impact and 0.6 acres of temporary impact. This impact has
increased by 0.6 acres compared to the total impact of 5.7 acres reported in the DEIS for Alternative 9.

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Figure 5-8: Academy Woods

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Figure 5-9: Cabin John

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The impacts to Cabin John Regional Park would be required due to widening of southbound I-270 and
construction of a retaining wall along the outside shoulder, utility relocations, a SWM facility,
augmentation of two storm drains and one culvert, and outfall stabilization. Impacts would occur to the
connecting trail between the Highway Loop Trail and Kidney Bean Loop Trail. Detailed mapping of the
Preferred Alternative design at Cabin John Regional Park can be found in SDEIS, Appendix D — Maps 23 -
25.

A portion of the connecting trail between the Highway Loop Trail and Kidney Bean Loop Trail would need
to be realigned in coordination with M-NCPPC. Access to the trail would be maintained throughout
construction. No other recreational facilities would be impacted by the Preferred Alternative.

The increase in impact from the DEIS is due to expanded LOD needed to accommodate culvert
augmentation, outfall stabilization, utility relocation, updated roadway configuration and retaining wall,
and temporary drainage needs along the retaining wall. Expansion of the LOD in certain areas was in
response to M-NCPPC’s comments to ensure stable outfall channels.

MDOT SHA has identified potential mitigation opportunities for the site including tree planting and
improvements to the connecting trail between the Highway Loop Trail and Kidney Bean Loop Trail. MDOT
SHA would also identify and pursue the acquisition of replacement parkland in coordination with M-
NCPPC as potential mitigation for parkland impacts. Also under consideration are a visual barrier along
southbound |-270 and improvements to the Robert C. McDonnell Campground. MDOT SHA is coordinating
with M-NCPPC to develop final mitigation commitments at Cabin John Regional Park including all possible
planning to minimize harm to be included in the Final Section 4(f) Evaluation and FEIS.

5.2.11 Tilden Woods Stream Valley Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: M-NCPPC Montgomery County
Type of Section 4(f) Approval: De Minimis Impact

Tilden Woods Stream Valley Park is a publicly-owned park, and recreation area, accessed via Sulky Lane
in Bethesda. Tilden Woods Stream Valley Park extends along the banks of Old Farm Creek from Montrose
Road to 1-270. This 67.4-acre park consists of an undeveloped wooded area that provides a protective
buffer along Old Farm Creek. This park is under the jurisdiction of M-NCPPC and was acquired in pieces
beginning in 1961 using Program Open Space funds.

The Preferred Alternative would result in a Section 4(f) use of 0.7 acres of Tilden Woods Stream Valley
Park (Figure 5-10), including 0.6 acres of permanent impact and 0.1 acres of temporary impact. This
impact has increased by 0.5 acres compared to the total impact of 0.2 acres reported in the DEIS for
Alternative 9.

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Figure 5-10: Tilden Woods SVP and Old Farm NCA

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The impacts to Tilden Woods Stream Valley Park would be required to accommodate an area for
construction to widen I-270, replacing the bridge that carries |-270 over Tuckerman Lane, augmenting the
existing culvert conveying Old Farm Creek beneath |-270, providing access for construction vehicles and
materials, and utility relocation. Detailed mapping of the Preferred Alternative design at Tilden Woods
Stream Valley Park can be found in SDEIS, Appendix D — Maps 22 and 23.

No recreational facilities would be impacted by the Preferred Alternative at Tilden Woods Stream Valley
Park.

The increase in impact from the DEIS is due to design refinements including culvert augmentation and
utility relocation.

FHWA intends to make a de minimis impact determination for Tilden Woods Stream Valley Park if M-
NCPPC Montgomery County concurs that the Preferred Alternative, after measures to minimize harm are
employed, would not adversely affect the activities, features, or attributes that make the property eligible
for Section 4(f) protection and in consideration of public comments.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with the
M-NCPPC as potential mitigation for impacts to parkland. Replacement parkland of equal or greater
monetary and recreational value is required for Tilden Woods Stream Valley Park because the impacted
park was acquired with Program Open Space Funds. MDOT SHA has also identified potential offsite tree
planting mitigation opportunities. MDOT SHA is coordinating with M-NCPPC to develop mitigation
commitments at Tilden Woods Stream Valley Park and final mitigation will be included in the Final Section
4(f) Evaluation and FEIS.

§.2.12 Old Farm Neighborhood Conservation Area
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: M-NCPPC Montgomery County
Type of Section 4(f) Approval: De Minimis Impact

Old Farm Neighborhood Conservation Area is a publicly-owned park and recreation area at 7030 Tilden
Lane in Rockville. The park is bounded to the west by I-270. The 0.8-acre park is composed of an
undeveloped wooded area.

The Preferred Alternative would result in a Section 4(f) use of 0.1 acres of Old Farm Neighborhood
Conservation Area (Figure 5-10), all of which would be permanent impact. The impact has not changed
compared to the total impact reported in the DEIS for Alternative 9.

The impacts to Old Farm Neighborhood Conservation Area would be required to construct, operate, and
maintain a stormwater management facility on land adjacent to the park. Detailed mapping of the
Preferred Alternative design at Old Farm Neighborhood Conservation Area can be found in SDEIS,
Appendix D — Map 23.

No recreational facilities would be impacted by the Preferred Alternative at Old Farm Neighborhood
Conservation Area.

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FHWA intends to make a de minimis impact determination for Old Farm Neighborhood Conservation Area
if M-NCPPC, Montgomery County concurs that the Preferred Alternative, after measures to minimize
harm are employed, would not adversely affect the activities, features, or attributes that make the
property eligible for Section 4(f) protection, and in consideration of public comments.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with M-
NCPPC as potential mitigation for impacts to parkland. Potential tree planting mitigation is also under
consideration. MDOT SHA is coordinating with M-NCPPC to develop mitigation commitments at the Old
Farm Neighborhood Conservation Area and final mitigation will be included in the Final Section 4(f)
Evaluation and FEIS.

5.2.13 Cabin John Stream Valley Park Unit 6
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: M-NCPPC Montgomery County
Type of Section 4(f) Approval: De Minimis Impact

Cabin John Stream Valley Park Unit 6 is one of six units that comprise M-NCPPC Montgomery County’s
Cabin John Stream Valley Park, a publicly-owned park and recreation area. Cabin John Stream Valley Park
Unit 6 is the northernmost portion of the stream valley park and is situated east of I|-270 bounded by Old
Stage Road to the south and the |-270 offramp to Montrose Road to the north. The entirety of Cabin John
Stream Valley Park encompasses 520 acres; of which Unit 6 comprises 19.8 acres. Cabin John Stream
Valley Park features portions of the natural surface Cabin John Trail that runs north-south and connects
the stream valley park’s Potomac area to Cabin John Parkway as well as an undeveloped wooded area
that provides a protective buffer along Cabin John Creek.

The Preferred Alternative would result in a Section 4(f) use of 0.8 acres of Cabin John Stream Valley Park
Unit 6 (Figure 5-11), all of which would be permanent impact. This impact has increased by 0.4 acres
compared to the total impact of 0.4 acres reported in the DEIS for Alternative 9.

The impacts to Cabin John Stream Valley Park Unit 6 would be required to accommodate: tree removal,
grading, improvements to the existing culvert, access for construction vehicles and materials, construction
of a retaining wall along the realigned ramp from northbound I-270 to eastbound Montrose Road, and
construction of a SWM facility. Detailed mapping of the Preferred Alternative design at Cabin John Stream
Valley Park Unit 6 can be found in SDEIS, Appendix D— Map 24.

The Preferred Alternative would not impact any recreational facilities in Cabin John Stream Valley Park
Unit 6.

The increase in impact from the DEIS is due to design refinements including culvert augmentation,
stormwater pond location, and updated roadway configuration and retaining wall. Expansion of the LOD
in certain areas was in response to M-NCPPC’s comments to improve stormwater management and
existing drainage issues.

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FHWA intends to make a de minimis impact determination for Cabin John Stream Valley Park Unit 6 if M-
NCPPC concurs that the Preferred Alternative, after measures to minimize harm are employed, would not
adversely affect the activities, features, or attributes that make the property eligible for Section 4(f)
protection, and in consideration of public comments.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with M-
NCPPC as potential mitigation for parkland impacts MDOT SHA is coordinating with M-NCPPC to develop
final mitigation commitments at Cabin John Stream Valley Park Unit 6 including all possible planning to
minimize harm to be included in the Final Section 4(f) Evaluation and FEIS.

§.2.14 Cabin John Stream Valley Park (Rockville)
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: City of Rockville Department of Recreation and Parks
Type of Section 4(f) Approval: Individual Evaluation

Cabin John Stream Valley Park (Rockville) is a publicly-owned park and recreation area east of Tower Oaks
Boulevard and south of Preserve Parkway in Rockville. The 4.5-acre park provides a wooded buffer along
a portion of the environmentally sensitive Cabin John Creek.

The Preferred Alternative would result in a Section 4(f) use of 2.1 acres of Cabin John Stream Valley Park
(Rockville) (Figure 5-12), all of which would be permanent impact. This impact has not changed compared
to the total impact reported in the DEIS for Alternative 9.

The impacts to Cabin John Stream Valley Park (Rockville) would be required to construct, operate, and
maintain a stormwater management facility. Detailed mapping of the Preferred Alternative design at
Cabin John Stream Valley Park (Rockville) can be found in SDEIS, Appendix D — Map 26. Refer to the DEIS
Appendix F, Section 2.2.1 for more detail.

No recreational facilities in Cabin John Stream Valley Park (Rockville) would be impacted by the Preferred
Alternative.

MDOT SHA would identify and pursue the acquisition of replacement parkland and/or other mitigation
opportunities in coordination with the City of Rockville. Final mitigation commitments at Cabin John
Stream Valley Park including all possible planning to minimize harm will be included in the Final Section
4(f) Evaluation and FEIS.

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Figure 5-12: Cabin John Stream Valley Park (Rockville)

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5.2.15 Bullards Park and Rose Hill Stream Valley Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: City of Rockville Department of Recreation and Parks
Type of Section 4(f) Approval: Individual Evaluation

Bullards Park and Rose Hill Stream Valley Park is a publicly-owned park and recreation area abutting the
northbound lanes of |-270 in Rockville. The 4.7-acre park is divided into two sections. The stream valley
park comprises the central and southern portions of the park while the northern portion, Bullards Park,
contains basketball courts, hard and natural surface trails, a playground, and picnic area. The Preferred
Alternative would result in a Section 4(f) use of 3.3 acres of Bullards Park and Rose Hill Stream Valley Park
(Figure 5-13), all of which would be permanent impact. This impact has increased by 3.0 acres compared
to the total impact of 0.3 acres reported in the DEIS for Alternative 9.

The impacts to Bullards Park and Rose Hill Stream Valley Park would be required for grading or
modification of existing stormwater management (SWM) facilities, including an existing joint-use SWM
facility near the Julius West Middle School pond, and the modification of an existing SWM facility at the
north end of the park property. Based on continued coordination with the City of Rockville, MDOT SHA,
and FHWA, the assumption regarding the applicability of Section 4(f) to the existing joint-use SWM facility
and potential impacts may be modified and updated in the Final Section 4(f) Evaluation. Detailed mapping
of the Preferred Alternative design at Bullards Park and Rose Hill Stream Valley Park can be found in SDEIS,
Appendix D — Map 30.

The increase in impact from the DEIS is due to further adjustment and evaluation of the LOD to account
for culvert augmentation in the vicinity of this park.

No recreational facilities would be impacted by the Preferred Alternative in Bullards Park and Rose Hill
Stream Valley Park.

MDOT SHA and FHWA previously anticipated that the Section 4(f) use of Bullards Park and Rose Hill Stream
Valley Park would be de minimis based on the impacts presented in the DEIS. However, impacts to Bullards
Park and Rose Hill Stream Valley Park are now anticipated to be greater than de minimis, and thus
requiring an Individual Section 4(f) Evaluation.

MDOT SHA has identified potential park mitigation and enhancement opportunities for Bullards Park and
Rose Hill Stream Valley Park, including trail and path improvements, addition of park amenities such as
benches, and the addition of decorative landscaping. MDOT SHA would also identify and pursue the
acquisition of replacement parkland in coordination with the City of Rockville as potential mitigation for
parkland impacts. MDOT SHA will continue coordinating with the City of Rockville to identify final
mitigation commitments including all possible planning to minimize harm for inclusion in the Final Section
4(f) Evaluation and FEIS.

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Figure 5-13: Bullards Park and Rose Hill Stream Valley Park

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5.2.16 Rockmead Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: City of Rockville Department of Recreation and Parks
Type of Section 4(f) Approval: De Minimis Impact

Rockmead Park is a publicly-owned park and recreational facility at 1800 Greenplace Terrace in Rockville.
This 25.3-acre park abuts the southbound lanes of |-270. Park amenities include open space, benches,
natural and hard surface paths, and playground equipment.

The Preferred Alternative would result in a use of 0.3 acres of Rockmead Park (Figure 5-14), including 0.2
acres of permanent impact and 0.1 acres of temporary impact. This impact has increased by 0.1 acres
compared to the total impact of 0.2 acres reported in the DEIS for Alternative 9.

The impacts to Rockmead Park would be required to accommodate improvements to two existing culverts
that convey waterways beneath |-270 and providing access for construction vehicles and materials,
construction of a retaining wall and a noise barrier. Detailed mapping of the Preferred Alternative design
at Rockmead Park can be found in SDEIS, Appendix D — Map 30.

No recreational facilities would be impacted by the Preferred Alternative at Rockmead Park.

FHWA intends to make a de minimis impact determination for Rockmead Park if the City of Rockville
Department of Recreation and Parks concurs that the Preferred Alternative, after measures to minimize
harm are employed, would not adversely affect the activities, features, or attributes that make the
property eligible for Section 4(f) protection, and in consideration of public comments.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with the
City of Rockville as potential mitigation for impacts to parkland. MDOT SHA has identified additional
potential mitigation opportunities including stream restoration, trail and path improvements, additional
park amenities, improvements to playground equipment, and decorative landscaping. MDOT SHA is
coordinating with the City of Rockville to develop mitigation commitments at Rockmead Park and final
mitigation will be included in the Final Section 4(f) Evaluation and FEIS.

5.2.17 Woottons Mill Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: City of Rockville Department of Recreation and Parks
Type of Section 4(f) Approval: De Minimis Impact

Woottons Mill Park is a publicly-owned park and recreation area on Hurley Road in Rockville. Woottons
Mill Park extends along a portion of Watts Branch from the southwest quadrant of the I-270 and MD 28
interchange to the intersection of Scott Drive and Wootton Parkway.

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Figure 5-14: Rockmead Park

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The increase in impact from the DEIS is due to design refinements requiring additional LOD for a noise
wall, an updated roadway configuration and retaining wall, and further adjustment and evaluation of the
LOD to account for culvert augmentation within the park.

Amenities within this 106.5-acre park include basketball and tennis courts, benches and picnic tables,
natural surface and hard surface paths, playground equipment, and garden plots.

The Preferred Alternative would result in a Section 4(f) use of 0.7 acres of Woottons Mill Park (Figure 5-
15), all of which would be permanent impact. The impact has increased by 0.5 acres compared to the total
impact of 0.2 acres reported in the DEIS for Alternative 9.

The impacts to Woottons Mill Park would be required to improve a storm drain outfall, and augmentation
of one culvert with potential stream restoration improvements. Detailed mapping of the Preferred
Alternative design at Woottons Mill Park can be found in SDEIS, Appendix D — Map 31.

No recreational facilities would be impacted by the Preferred Alternative in Woottons Mill Park.
The increase in impact from the DEIS is due to design refinements for culvert augmentation.

FHWA intends to make a de minimis impact determination for Woottons Mill Park if the City of Rockville
Department of Recreation and Parks concurs that the Preferred Alternative, after measures to minimize
harm are employed, would not adversely affect the activities, features, or attributes that make the
property eligible for Section 4(f) protection, and in consideration of public comments.

MDOT SHA has also identified potential mitigation opportunities including trail and path improvements,
improvements to basketball and/or tennis courts, improvement to the bridge over Watts Branch,
improvements to the Veirs Drive parking area, and shade tree planting. MDOT SHA is coordinating with
City of Rockville to develop mitigation commitments at Woottons Mill Park to be included in the Final
Section 4(f) Evaluation and FEIS.

5.2.18 Woodley Gardens
Type of Section 4(f) Property: Historic Property

Official with Jurisdiction: MHT
Type of Section 4(f) Approval: De Minimis Impact

Woodley Gardens is a planned residential development containing Colonial Revival-style, single- and
multi-family dwellings constructed between 1960 and 1970 in Rockville, Maryland. The approximately
200-acre development is east of |-270 and south of the Gude Drive overpass. Woodley Gardens is an
important, early example of mixed housing types in a planned residential development and is, therefore,
eligible for the NRHP under Criterion A as a historic district. Woodley Gardens is also significant as a
historic district under Criterion C as an excellent, intact example of a planned residential development
with a period of significance ranging from 1960 to 1970.

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Figure 5-15: Woottons Mill Park

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The Preferred Alternative would result in a Section 4(f) use of 1.3 acres of Woodley Gardens (Figure 5-16),
including 1.2 acres of permanent impact and 0.1 acres of temporary impact. This impact has increased by
0.6 acres compared to the total impact of 0.7 acres reported in the DEIS for Alternative 9.

The impacts to Woodley Gardens would be required to accommodate the construction, operation, and
future maintenance of a stormwater management facility, construction of a retaining wall and noise
barrier, utility relocations, and storm drain impacts. Detailed mapping of the Preferred Alternative design
at Woodley Gardens can be found in SDEIS, Appendix D — Maps 31 and 32.

The increase in impact from the DEIS is due to design refinements including an updated roadway
configuration resulting in changes to the location of the noise barrier and retaining wall, utility relocations,
and storm drain impacts.

The LOD expansion encompasses a portion of the parking lot adjoining the Woodley Gardens Shopping
Center. The parking lot is a character-defining feature of the contributing shopping center, but impacts
will be limited to several spaces along the edge of the lot and will not alter the characteristics that qualify
the district for the NRHP.

On March 12, 2020, MHT concurred that the Managed Lanes Study would have no adverse effect on
Woodley Gardens and provided written acknowledgement of FHWA’s intent to make a de minimis impact
finding based on the impacts identified in the DEIS. This initial MHT review was conducted prior to recent
design changes and avoidance and minimization efforts. MDOT SHA anticipates that there would still be
no adverse effect to Woodley Gardens, and have submitted documentation for concurrence to MHT as of
September 8, 2021. Therefore, FHWA intends to make a finding of de minimis impact to Woodley Gardens
provided MHT concurs with the effect determination and acknowledges the intent to make the de minimis
finding. A final de minimis determination would be documented in the Final Section 4(f) Evaluation and
FEIS.

5.2.19 Rockville Senior Center and Park
Type of Section 4(f) Property: Historic Property and Public Park

Officials with Jurisdiction: MHT, City of Rockville
Type of Section 4(f) Approval: De Minimis |mpact

Rockville Senior Center and Park is a publicly-owned park and recreational facility at 1150 Carnation Drive
in Rockville. This 12.1-acre park is immediately south of West Gude Drive and abuts the northbound lanes
of |-270. Park amenities consist of benches, picnic tables, walking paths, a nature trail, community garden,
outdoor fitness equipment, art, bocce ball court, and playground equipment. The senior center building
features additional recreational facilities including fitness rooms, a woodworking studio and meeting
space.

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Figure 5-16: Woodley Gardens

Legend Section a(f)

Limits of Disturbance = — Trails Property
PY) Lon Decrease from DEIS Potential 4(f) Use
EM LOD Increase from DEIS Property Lines. Woodley
aie Gardens
7] Historic Property me tite aa
_] Park Property oe —————iiies | ae i

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The senior center building of the Rockville Senior Center and Park is the former Woodley Gardens
Elementary School and contributes to the significance of Woodley Gardens, eligible for the NRHP under
Criteria A and Cas an early example of a developed residential-focused, mixed use community in Rockville.
The landscaping and park elements of the senior center were added after 1982, outside the Woodley
Gardens period of significance (1960-1970). Significant elements of Woodley Gardens include the
dwellings, shopping center, swim club, Woodley Gardens Park, and the Rockville Senior Center building.

The Preferred Alternative would result in a use of 1.0 acres of Rockville Senior Center and Park (Figure 5-
17) all of which would be permanent impact. This impact has increased by 0.3 acres compared to the total
impact of 0.7 acres reported in the DEIS for Alternative 9.

The impacts to Rockville Senior Center and Park would be required to accommodate the construction,
operation, and future maintenance of a stormwater management facility, construction of a retaining wall
and noise barrier, and widening of Gude Drive. Detailed mapping of the Preferred Alternative design at
Rockville Senior Center and Park can be found in SDEIS, Appendix D — Map 33.

No recreational facilities would be impacted by the Preferred Alternative at Rockville Senior Center and
Park.

The increase in impact from the DEIS is due to design refinements including an updated roadway
configuration that resulted in changes to the location of the retaining wall and noise barrier, and grading
and side slope construction associated with widening Gude Drive.

On March 12, 2020, MHT concurred that the Managed Lanes Study would have no adverse effect on
Woodley Gardens, including Rockville Senior Center; and provided written acknowledgement of FHWA’s
intent to make a de minimis impact finding based on the DEIS impacts. This initial MHT review was
conducted prior to recent design changes and avoidance and minimization efforts. MDOT SHA anticipates
that there would still be no adverse effect to the Rockville Senior Center and Park and submitted
documentation for concurrence to MHT on September 8, 2021. FHWA intends to make a finding of de
minimis impact to Rockville Senior Center and Park if the City of Rockville Department of Recreation and
Parks and MHT concur that the Preferred Alternative, after measures to mitigate and minimize harm are
employed, would not adversely affect the activities, features, or attributes that make the property eligible
for Section 4(f) protection, and in consideration of public comments. A final de minimis determination
would be documented in the Final Section 4(f) Evaluation and FEIS.

Parkland mitigation measures will be identified in coordination with the City of Rockville. Potential
mitigation measures include replacement parkland, trail/path improvements, addition of park amenities
such as benches along or near the path, and addition of decorative landscaping along or near the path.
Final mitigation commitments including all possible planning to minimize harm will be included in the Final
Section 4(f) Evaluation and FEIS.

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Figure 5-17: Rockville Senior Center and Park and Ward Building

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Legend Section 4(f)

Limits of Disturbance ————— Trails
PY) Lon Decrease from DEIS Potential 4(f) Use MISpely ‘
EX LOD Increase from DEIS Property Lines. Ward Building & Rockville
CF] et Prati Senior Center Park ea
[_] Park Property iis | i a aS

See ee eee eee eee CCCCCCCTCTCTCOC~—“—SN—TCS
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5.2.20 Ward Building
Type of Section 4(f) Property: Historic Property

Official with Jurisdiction: MHT
Type of Section 4(f) Approval: De Minimis Impact

The Ward Building is a Brutalist-style suburban corporate office constructed in 1978 at 1300 Piccard Drive,
Rockville, Maryland. The property is 4.76 acres laying just east of I-270 and north of the Gude Drive
overpass. The Ward Building is eligible under Criterion C for its high artistic value as an example of
Brutalist-style architecture.

The Preferred Alternative would result in a use of 0.2 acres of the Ward Building (Figure 5-17), all of which
would be permanent impact. This impact has increased by 0.1 acres compared to the total impact of 0.1
acres reported in the DEIS for Alternative 9.

The impacts to the Ward Building would be required to accommodate widening of I-270, widening of Gude
Drive, and construction area for a retaining wall. Detailed mapping of the Preferred Alternative design at
the Ward Building can be found in Appendix D — Map 33.

The increase in impact from the DEIS is due to updated roadway configuration, grading and side slope
construction associated with widening Gude Drive, and retaining wall construction.

The LOD expansion encompasses areas along the parking lot surrounding the Ward Building and would
not affect the characteristics that qualify the building for the NRHP.

On March 12, 2020, MHT concurred that the Managed Lanes Study would have no adverse effect on the
Ward Building and provided written acknowledgement of FHWA’s intent to make a de minimis impact
finding based on the impacts described in the DEIS. This initial MHT review was conducted prior to recent
design changes and avoidance and minimization efforts. MDOT SHA anticipates that there would still be
no adverse effect to the Ward Building and submitted documentation for concurrence to MHT on
September 8, 2021. Therefore, FHWA intends to make a finding of de minimis impact to the Ward Building
provided MHT concurs with the effect determination and acknowledges the intent to make the de minimis
finding. A final de minimis determination would be documented in the Final Section 4(f) Evaluation and
FEIS.

§.2.21 Malcolm King Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: City of Gaithersburg Department of Parks, Recreation and Culture
Type of Section 4(f) Approval: Individual Evaluation

Malcolm King Park is a publicly-owned park and recreation area at 1200 West Side Drive in Gaithersburg.
The 72.9-acre park abuts the interchange of southbound |-270 and westbound |-370. Park amenities
include a basketball court, picnic area, playground, tot lot, two miles of hiking trails, and two tennis courts.
The majority of the park’s acreage is wooded and serves as an environmental buffer for Muddy Branch.

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The Preferred Alternative would result in a Section 4(f) use of 1.3 acres of Malcolm King Park (Figure 5-
18), all of which would be permanent impact. This impact has increased by 1.2 acres compared to the
total impact of 0.1 acres reported in the DEIS for Alternative 9.

The impacts to Malcolm King Park would be required to accommodate a constructability area related to
widening |-270; augmenting the existing culvert conveying Muddy Branch beneath I-270, stabilizing the
Muddy Branch outfall, and improvements to the existing outfall for a culvert that passes under I-370.
Detailed mapping of the Preferred Alternative design at Malcolm King Park can be found in SDEIS,
Appendix D — Map 36.

No recreational facilities would be impacted by the Preferred Alternative at Malcolm King Park.

The increase in impact from the DEIS is due to design refinements including additional LOD for culvert
augmentation, outfall stabilization, and an updated roadway configuration.

MDOT SHA and FHWA previously anticipated that the Section 4(f) use of Malcolm King Park would be de
minimis based on the impacts presented in the DEIS. However, based on the increased impacts identified
in this SDEIS, impacts to Malcom King Park are now anticipated to be greater than de minimis, and thus
requiring an individual Section 4(f) evaluation.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with the
City of Gaithersburg as potential mitigation for impacts to parkland. Other potential mitigation
opportunities include trail/path improvements and improvements to or addition of playground
equipment. MDOT SHA is coordinating with the City of Gaithersburg to develop mitigation commitments
at Malcolm King Park and final mitigation will be included in the Final Section 4(f) Evaluation and FEIS.

5.2.22 Morris Park
Type of Section 4(f) Property: Public Park

Official with Jurisdiction: City of Gaithersburg Department of Parks, Recreation and Culture
Type of Section 4(f) Approval: Individual Evaluation

Morris Park is a publicly-owned park and recreation area on Summit Hall Road in Gaithersburg. The 37.2-
acre park abuts the interchange of northbound |I-270 and westbound I-370. Park amenities include two
baseball fields, three tennis courts, a basketball court, soccer field, picnic pavilion, picnic area with grill,
playground, and tot lot. Wooded areas of the park provide an environmental buffer along Muddy Branch
creek,

The Preferred Alternative would result in a Section 4(f) use of 1.1 acres of Morris Park (Figure 5-18), all of
which would be permanent impact. The impact to Morris Park has increased by 1.0 acres compared to the
total impact of 0.1 acres reported in the DEIS for Alternative 9.

The impacts to Morris Park would be required to accommodate an area for construction related to
widening |-270, augmenting the existing culvert conveying Muddy Branch beneath I-270, stabilizing the
Muddy Branch outfall, and storm drain improvements.

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Legend Section 4(f)

Limits of Disturbance = = Trails
Prope
HY) Lop decrease from DEIs Potential 4(f) Use party
E5254 Lon increase from DEIS Property Lines Malcom King Park
[7_] Historic Property & Morris Park ees Hal)
|_| Park Property 0 ie a Ne NT asses (UY

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No recreational facilities would be impacted by the Preferred Alternative at Morris Park.

The increase in impact from the DEIS is due to design refinements requiring additional LOD for culvert
augmentation and a storm drain improvements. Detailed mapping of the Preferred Alternative design at
Morris Park can be found in SDEIS, Appendix D — Map 36.

MDOT SHA and FHWA previously anticipated that the Section 4(f) use of Malcolm King Park would be de
minimis based on the impacts presented in the DEIS. However, based on the increased impacts identified
in this SDEIS, impacts to Morris Park are now anticipated to be greater than de minimis, and thus requiring
an individual Section 4(f) evaluation.

MDOT SHA would identify and pursue the acquisition of replacement parkland in coordination with the
City of Gaithersburg as potential mitigation for impacts to parkland. Other potential mitigation
opportunities include trail/path improvements, improvements to tennis courts, and improvements to or
addition of playground equipment. MDOT SHA is coordinating with the City of Gaithersburg to develop
mitigation commitments at Morris Park and final mitigation will be included in the Final Section 4(f)
Evaluation and FEIS.

5.3. Avoidance Alternatives and Analysis
Section 4(f) stipulates that the USDOT, including the FHWA, cannot approve a transportation project that
uses Section 4(f) property, unless FHWA determines that:

* There is no feasible and prudent avoidance alternative to the use of land from the property, and
the action includes all possible planning to minimize harm to the property resulting from such use
(23 CFR 774.3(a)(1) and (2)); or

* The use of the Section 4(f) properties, including any measures to minimize harm (such as
avoidance, minimization, mitigation, or enhancements measures) committed to by the applicant,
will have a de minimis impact on the property (23 CFR 774.3(b)).

Section 3 of the Draft Section 4(f) Evaluation (DEIS, Appendix F) included discussion of six avoidance
alternatives, summarized briefly in the following table. No feasible and prudent alternatives were
identified that completely avoid the use of Section 4(f) property. Table 5-3 summarizes the avoidance
alternatives evaluated in the Draft Section 4(f) Evaluation.

The alternatives previously included in the DEIS least overall harm analysis are carried forward here, as
they are still applicable to the current evaluation of least overall harm in this SDEIS with revised project
limits. The Preferred Alternative, a minimization alternative, is also included for evaluation in the revised
discussion of least overall harm.

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Table 5-3: Avoidance Alternatives

improvements would occur but there would
be no changes to the existing lane
configuration on 1-495 and I-270. There
would be no operational improvements or
increased capacity along I-495 and I-270.

Avoidance Description Avoidance Analysis Findings*

Alternative

Alternative 1: Alternative 1 would avoid all Section 4(f) Alternative 1 would avoid impacts to Section
No Build property impacts. Under this alternative 4(f) properties but would be unreasonable to
Alternative routine maintenance and safety proceed with in light of the Study’s stated

Purpose and Need. Alternative 1 causes
other severe problems of a magnitude that
substantially outweigh the importance of
protecting Section 4(f) properties.

Increased Bus
Transit

This alternative would include expansion of
existing bus transit services within the limits
of the Study on both I-270 and I-495 and the
additional surrounding roadway network.
This could be in the form of an increase in
bus service on existing |-495 and I-270 within
the limits of the Study, or consideration of
dedicated facilities such as bus rapid transit
systems on existing infrastructure.

An extensive regionwide network of
dedicated BRT facilities along I|-495 and |-270
would not achieve the Study’s Purpose and
Need. It would be unreasonable to proceed
with the Bus Transit Alternative in light of
the stated Purpose and Need. This avoidance
alternative causes other severe problems of
a magnitude that substantially outweigh the
importance of protecting the Section 4(f)
properties.

System
Management/

Demand
Management
(TSM/TDM)

Transportation

Transportation

Transportation System Management
(TSM)/Transportation Demand Management
(TDM) strategies are improvements to
existing facilities that improve the operation
and coordination of transportation services
and facilities.

ATSM/TDM Alternative would not
accommodate existing and future long-term
traffic, nor would these measures enhance
trip reliability. In addition, the TSM/TDM
Alternative would not directly provide an
additional travel choice, accommodate
Homeland Security, improve the movement
of goods and services, nor enhance
multimodal connectivity; and it would not
provide a revenue source. Based on these
factors, the TSM/TDM Alternative is not a
feasible and prudent alternative. This
avoidance alternative causes other severe
problems of a magnitude that substantially
outweigh the importance of protecting the
Section 4(f) properties.

1 Refer to the definition of feasible and prudent avoidance alternative in 23 CFR § 774.17.

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Alternative 1

Avoidance Description Avoidance Analysis Findings*

Alternative

Section 4(f) Section 4(f) Avoidance Alternative 1 would Section 4(f) Avoidance Alternative 1 would
Avoidance construct four new managed lanes off- result in additional construction,

alignment between George Washington
Memorial Parkway and MD 4, outside of I-
495. To avoid the use of any Section 4(f)
property on |-270, four managed lanes
would be constructed off alignment to the
west of existing I-270. The alignment of
Section 4(f) Avoidance Alternative 1 would
rejoin existing I-270 at the MD 200
interchange, the limit of the Study.

maintenance, and operational costs of an
extraordinary magnitude. After reasonable
mitigation, it would still cause severe social,
economic, and environmental impacts;
severe disruption to established
communities; and severe impacts to
environmental resources protected under
other Federal statutes. Section 4(f)
Avoidance Alternative 1 causes other severe
problems of a magnitude that substantially
outweighs the importance of protecting
Section 4(f) properties.

Section 4(f)
Avoidance
Alternative 2

Section 4(f) Avoidance Alternative 2 would
construct four new managed lanes off-
alignment between George Washington
Memorial Parkway and MD 4. The managed
lanes would be constructed inside the
alignment of existing I-495 through nearly
full the limits of the Study. To avoid the use
of any Section 4(f) property on I-270, four
managed lanes would also be constructed
off alignment to the east of existing I-270.

Avoidance Alternative 2 would result in
additional construction, maintenance, and
operational costs of an extraordinary
magnitude. After reasonable mitigation, it
would still cause severe social, economic,
and environmental impacts; severe
disruption to established communities; and
severe impacts to environmental resources
protected under other Federal statutes.
Section 4(f) Avoidance Alternative 2 causes
other severe problems of a magnitude that
substantially outweighs the importance of
protecting Section 4(f) properties.

Section 4(f)
Avoidance
Alternative 3

Section 4(f) Avoidance Alternative 3 would
construct four managed lanes as proposed in
the Preferred Alternative. However, where
impacts to Section 4(f) properties would
occur, the location specific options would be
incorporated into the alignment of Section
4(f) Avoidance Alternative 3.

Although Section 4(f) Avoidance Alternative
3 would result in additional construction,
maintenance, and operational costs of an
extraordinary magnitude. After reasonable
mitigation, it would still cause severe social,
economic, and environmental impacts;
severe disruption to established
communities; and severe impacts to
environmental resources protected under
other Federal statutes. Section 4(f)
Avoidance Alternative 3 causes other severe
problems of a magnitude that substantially
outweighs the importance of protecting
Section 4(f) properties.

The Preferred Alternative presented in this SDEIS would not avoid the use of all Section 4(f) properties. It

would, however, avoid the use of 38 Section 4(f) properties totaling roughly 105 acres compared to DEIS
Build Alternative 9 (Table 5-2). Those 105 acres of impact to 38 properties would be fully avoided by the
Preferred Alternative.

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5.4 All Possible Planning

Section 4(f) states FHWA may not approve the use of Section 4(f) property unless there is no feasible and
prudent avoidance alternative, and the action includes all possible planning to minimize harm to the
property resulting from such use. “All possible planning,” as defined in 23 CFR 774.17, includes all
reasonable measures to minimize harm or mitigate for adverse impacts and effects. The cost of mitigation
should be a reasonable public expenditure in light of the severity of the impact on Section 4(f) property,
in accordance with 23 CFR 771.105(e).

The DEIS presented measures that had been identified to ensure all possible planning to minimize harm
and mitigate for adverse impacts and effects. These measures are summarized here and detailed in
Section 4 of the Draft Section 4(f) Evaluation (DEIS, Appendix F). Additional minimization and mitigation
efforts have been implemented in conjunction with the Preferred Alternative presented in this SDEIS and
Updated Draft Section 4(f) Evaluation.

5.4.1 Summary of All Possible Planning Presented in DEIS

Pursuant to Section 106, MDOT SHA is in the process of drafting a Programmatic Agreement to resolve
adverse effects to historic properties. In general, mitigation measures agreed upon as part of the Section
106 process satisfy the requirement to include all possible planning to minimize harm for historic
properties under Section 4(f).

With regard to public parks, all possible planning will involve the minimization activities described herein
as well as mitigation coordinated with the OWJs over public parks and recreation areas. All possible
planning to minimize harm will additionally involve an agreement document that outlines the process to
continue coordination with the OWJs over Section 4(f) properties through the design phase of the project.

Members of the public are also afforded an opportunity to provide comments. Mitigation measures
involving the public parks and recreation areas may involve a replacement of land and/or facilities of
comparable value and function, or monetary compensation to enhance the remaining land.

Section 4 of the Draft Section 4(f) Evaluation (DEIS, Appendix F) includes detailed discussion of the
methodology and assumptions for establishing LODs (DEIS, Appendix F, Section 4.1), the considerations
for adjacent land use and minimization of the LOD (DEIS, Appendix F, Section 4.2) and a summary of
potential mitigation measures (DEIS, Appendix F, Section 4.3).

New measures intended to address all possible planning to minimize harm to Section 4(f) properties are
documented in this SDEIS and included in the Preferred Alternative’s avoidance of 38 Section 4(f)
properties as compared to the DEIS Alternative 9. Additional avoidance and minimization measures at
Section 4(f) properties include extensive design refinements in the vicinity of the ALB and at Morningstar
Cemetery, and new conceptual mitigation measures developed in coordination with the OWJs for each
Section 4(f) property impacted.

5.4.2 Preferred Alternative

The Preferred Alternative presented in this SDEIS was developed as a Section 4(f) minimization alternative
based ijn part on extensive coordination with and input from agencies and stakeholders, including the
Officials with Jurisdiction (OWJs) for Section 4(f) properties. Comments received on the DEIS and Draft
Section 4(f) Evaluation from agencies and stakeholders specifically requested avoidance of significant

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parkland and historic resources within the Study area. The Preferred Alternative is responsive to
comments received and aligns the Study to be consistent with the previously determined phased delivery
and permitting approach by limiting the build improvements to the area of Phase 1 South only while
avoiding improvements on I-495 east of the I-270 East Spur. The result is complete avoidance of significant
Section 4(f) properties within the Study limits, which remain the same as the DEIS, on |-495 east of the I-
270 east spur to MD 5 in Prince George’s County. These include complete avoidance of significant stream
valley parks including: Rock Creek, Northwest Branch, Sligo Creek, Southwest Branch, and Henson Creek
Stream Valley Parks, as well as historic parks of national significance including the Baltimore-Washington
Parkway, Greenbelt Park and Suitland Parkway.

5.4.3. American Legion Bridge (ALB)

MDOT SHA conducted an extensive engineering evaluation at the ALB to identify strategies for minimizing
impacts at NPS owned Section 4(f) properties adjacent to the bridge including the C&O Canal NHP, Clara
Barton Parkway, and George Washington Memorial Parkway. MDOT SHA convened a multidisciplinary
team of experts referred to as the ‘ALB Strike Team’ to develop and evaluate alternatives for the
replacement of the ALB that avoid impacts, to the greatest extent practicable, or reduce overall acreage
impacts to the three NPS properties in the vicinity of the ALB.

The ALB Strike Team explored strategies for reducing the LOD including top-down construction, alternate
construction phasing, alternate bridge types, and construction access requirements. Bridge type options
were evaluated including conventional structures, cable stayed, and cast-in-place segmental bridges.
Alternate construction phases such as Accelerated Bridge Construction techniques were also evaluated to
investigate options to reduce the construction duration. Options for the ultimate roadway and bridge
alignment as well as construction access and phasing to reduce impacts to Plummer’s Island were also
considered.

The ALB Strike Team evaluation determined that one construction access road located in the northwest
quadrant of the ALB and Potomac River would be sufficient to provide construction access for removal of
the existing bridge and construction of a new bridge thus eliminating the need for construction access in
the three other quadrants.

Overall, MDOT SHA’s efforts to minimize impacts to NPS properties in the vicinity of the ALB has led to
reductions of 5.3 acres at the C &O Canal NHP and 7.8 acres at the George Washington Memorial Parkway
relative to the DEIS impacts. Refer to Section 5.1.3 for additional details.

5.4.4 Morningstar Tabernacle No. 88 Moses Hall and Cemetery

MDOT SHA has coordinated directly with the Friends of Moses Hall and other consulting parties since early
2020 on avoidance and minimization efforts at the Morningstar Tabernacle No. 88 Moses Hall and
Cemetery (Morningstar Cemetery). In January 2021, MDOT SHA implemented bamboo removal within the
Morningstar Cemetery to continue documentation of the cemetery features and boundaries. Through
design efforts that led to refinements of the LOD, MDOT SHA developed design options that would avoid
all ground disturbance within the cemetery parcel and reduce impacts to the overall Section 4(f) property
from 0.3 acre reported in the DEIS to the current estimated impact of less than 0.1 acre (approximately
14 square feet of temporary area) associated with the construction of a noise barrier adjacent to the
property.

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In July 2021, MDOT SHA evaluated an alternative to avoid the Morningstar Cemetery and associated
potential graves identified in an area of adjacent right-of-way through ground-penetrating radar (GPR)
survey.

The proposed typical section of the SDEIS layout along the northbound I-495 inner loop managed lane
ramp in the vicinity of the cemetery consists of the following:

¢ 12-foot left shoulder (adjacent to concrete traffic barrier)

e 15-foot travel lane

e 4-foot right shoulder (adjacent to concrete traffic barrier)

* Noise barrier located five feet from the centerline of concrete traffic barrier

The proposed modification reduces the northbound I-495 inner loop managed lane ramp left shoulder
width to 6 feet (from 12 feet). The ramp’s right shoulder remains four (4) feet in width; however, the noise
barrier would be relocated to the back of the concrete traffic barrier. The LOD is established five feet from
the centerline of the noise barrier for approximately 300 feet along the frontage of the Morningstar
Cemetery property. An area similarly reducing impacts to existing right-of-way extends approximately 65
feet west of the identified potential graves to provide a buffer margin.

This alternative minimizes the overall width of the section avoiding earthwork (cuts or fills) at the nearest
GPR-indicated feature that may be a grave.

Although this minimization effort has eliminated project impacts within the property and avoids
associated potentially indicated burial features within right-of-way adjacent to the cemetery, MDOT SHA
continues to find that the property will be adversely affected pending further consultation regarding
options for future investigations and other issues raised regarding indirect and cumulative effects. Any
potential proximity effects of the Preferred Alternative, such as visual changes, would not substantially
impair the aesthetic features or attributes of Morningstar Cemetery that contribute to the value of the
property. Nor would the Preferred Alternative restrict access to the property. The overall proximity
impacts from the Preferred Alternative would not substantially impair the activities, features, or attributes
that qualify Morningstar Cemetery for protection under Section 4(f); therefore no constructive use would
occur per 23 CFR 774.15.

Additional information about investigation and mitigation activities at Morningstar Cemetery are detailed
in SDEIS, Chapter 4, Section 4.7.3.D and Section 4.7.4.D.

5.4.5 Mitigation

MDOT SHA has coordinated extensively with the OWJs on Section 4(f) properties impacted by the
Preferred Alternative to identify potential mitigation measures. Potential mitigation measures identified
in this SDEIS are preliminary in nature, as this coordination is ongoing. Final mitigation commitments

including all possible planning to minimize harm will be developed in more detail in coordination with the
OW4s and included in the Final Section 4(f) Evaluation and FEIS.

Potential mitigation measures for parkland identified to date include:

e Identification and acquisition of replacement parkland;
e Trail and path improvements;

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« Addition of park amenities, recreational equipment and facilities;
e Landscaping, tree planting and reforestation;

e §=Visual and noise barriers;

e Wetland creation or restoration;

e Stream restoration;

* Species-specific mitigations for RTE species;

e Funds to support safety improvements; and,

e Parking, roadway and bridge improvements within park areas.

Potential mitigation measures for historic properties identified in the current draft PA include:

* Property-specific design-review consultation to ensure context-sensitive design for new

facilities;
e Cultural Landscape documentation;
e Rehabilitation of historic structures and features;
e Data recovery, research and archaeological treatment plans;
* Cemeteries and human remains treatment plan;

e Preservation of vegetation and planting for vegetative screening;

e Development of historical interpretive materials, plaques and signage located for public

accessibility; and,
* Completion of NRHP nominations.

5.5 Least Overall Harm

Pursuant to 23 CFR 774.3(c)(1), if the avoidance analysis determines that there is no feasible and prudent
avoidance alternative, then only the alternative that causes the least overall harm may be approved.
Because no feasible and prudent avoidance alternative has been identified, all remaining alternatives are

evaluated to determine which would cause the least overall harm.

23 CFR 774.3(c)(1) identifies seven factors for identifying the alternative with the least overall harm.

e Factor 1: The ability to mitigate adverse impacts to each Section 4(f) property (including any

measures that result in benefits to the property);

e Factor 2: The relative severity of the remaining harm, after mitigation, to the protected

activities, attributes, or features that qualify each Section 4(f) property for protection;

e Factor 3: The relative significance of each Section 4(f) property; and
« Factor 4: The views of the OWJs over each Section 4(f) property.

e Factor 5: The degree to which each alternative meets the Purpose and Need for the project;

e Factor 6: After reasonable mitigation, the magnitude of any adverse impacts to resources not

protected by Section 4(f); and

e Factor 7: Substantial differences in costs among the alternatives.

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5.5.1 Draft Section 4(f) Least Overall Harm Evaluation

The Draft Section 4(f) Evaluation included a preliminary assessment of least overall harm which compared
location-specific avoidance options, other minimization alternatives, and Alternatives Retained for
Detailed Study (ARDS) based on the least overall harm criteria. (Refer to DEIS, Appendix F, Section 5.)

The DEIS included discussion of 18 location-specific alternatives identified to avoid the use of individual
Section 4(f) properties, developed to be incorporated into the DEIS Build Alternatives. Each alternative
was evaluated using the seven factors of least overall harm. The alternatives consisted of alignment shifts,
tunnels, or bridges that were developed to avoid specific Section 4(f) properties for which the impacts
were not anticipated to be de minimis.

In general, the evaluation determined that these location specific options would result in additional use
of other Section 4(f) properties, adverse impacts of a severe magnitude to resources not subject to Section
A(f) protection, or a substantial increase in cost. Because the location-specific options modify relatively
short portions of the end-to-end Build Alternatives, each would meet the Purpose and Need of the Study
to some degree. However, the analysis determined that the location specific options that more
substantially deviate from the existing alignments of |-495 and |-270 and result in a lengthier travel routes
would be less effective in addressing the project needs.

The DEIS considered other minimization alternatives including Alternative 5: 1-Lane High-Occupancy Toll
Managed Lane Network and the MD 200 Diversion Alternative. These were evaluated along with the six
Build Alternatives that were retained for detailed study in the DEIS. These alternatives included managed
lanes that differ in the manner in which the proposed travel lanes would be designated and configured.
The six ARDS included Alternatives 8, 9, 9M, 10, 13B, and 13C. These are described in detail in the DEIS,
Chapter 2, Section 2.6.

5.5.2 Updated Least Overall Harm Analysis

The preliminary results of the Least Overall Harm Analysis were presented in the DEIS, Appendix F, Section
5.4, and are summarized below for each of the alternatives (Table 5-4). The table has been updated to
include the Preferred Alternative included in this SDEIS.

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Table 5-4: Least Overall Harm Analysis

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Alternative

i. The ability to mitigate
adverse impacts to each
Section 4(f) property
(including any measures
that result in benefits to
the property

ii. The relative severity of
the remaining harm, after
mitigation, to the
protected activities,
attributes, or features
that qualify each Section
4(f) property for
protection

ili. The relative
significance of each
Section 4(f) property

iv. The views of the
official(s) with
jurisdiction over each
Section 4(f) property

v. The degree to which

each alternative meets

the purpose and need
for the project

vi. After reasonable
mitigation, the
magnitude of any
adverse impacts to
properties not protected
by Section 4(f)

vii. Substantial differences
in costs among the
alternatives

Preliminary Summary

DEIS Build Alternatives

Alternative 8

Alternative 9

Alternative 9
Modified

Alternative 10

Alternative 13B

Alternative 13C

Substantially equal ability
to mitigate adverse
impacts to each Section
A(f) property

Substantially equal relative
harm given the physical
footprint among the Build
Alternatives. Harm would
occur to properties as
described in Section 2

All DEIS build
alternatives would
impact the same number
of Section 4(f) properties

OW4Js provided views
during the review
period of the DEIS and
Draft Section 4(f)
Evaluation;
coordination ongoing
until Final Section 4(f}

Meets Purpose and
Need to a Lesser
Degree

Meets
Purpose and Need to
Greater Degree

Substantially equal
magnitude of adverse
impacts to properties not
protected by Section 4(f)

Total Cost of Alternative
would be between $8.7 and
$9.6 Billion

Would meet the Purpose and Need to a lesser
degree than other DEIS Build Alternatives. Would
create traffic problems that would reduce trip
reliability in the managed lanes.

Total Cost of Alternative
would be between $8.7 and
$9.6 Billion

Would meet the Purpose and Need; impacts to
properties protected by Section 4(f) are minimized;
appropriate mitigation measures for use of Section
A(f) property to minimize harm.

Meets Purpose and
Need to a Lesser

Lesser Magnitude of
Adverse Impacts than

Cost of Alternative would
be between $8.5 and $9.3
Billion.

Would meet the Purpose and Need to a lesser
degree than other DEIS Build Alternatives because it
does not successfully address existing traffic and

Degree Build Alternatives Not financially viable owing | long-term traffic growth or enhance trip reliability,
to lower revenue. and it is not financially viable.
Would have greater impacts to Section 4(f)
Meets Greater Magnitude of Total Cost of Alternative Properties, natural resources, and property

Purpose and Need

Adverse Impacts than
other Build Alternatives

would be between $9.0 and
59.9 Billion

relocations as well as greater cost, but would
provide no additional benefit in meeting Purpose
and Need.

Meets Purpose and
Need to a Lesser
Degree

Meets Purpose and
Need to a Lesser
Degree

Substantially equal
magnitude of adverse
impacts to properties not
protected by Section 4(f)

Total Cost of Alternative
would be between $8.7 and
$9.6 Billion.

Not financially viable owing
to lower revenue

Would meet the Purpose and Need to a lesser
degree than the other DEIS Build Alternatives.
Would only accommodate traffic growth in the
peak direction during peak period. Would not be
financially self-sufficient.

Total Cost of Alternative
would be between $8.8 and
$9.7 Billion.

Not financially viable owing
to lower revenue

Would meet the Purpose and Need to a lesser
degree. Would have negative impacts to travel
along I-495 during the AM peak period as reversible
lanes can only be operated in one direction at a
time. Would not be financially self-sufficient.

SDEIS Preferred Alternative

Preferred
Alternative

Alternative 9 —
Phase 1 South

Substantially equal ability
to mitigate adverse
impacts to each Section
A(f) property relative to
the DEIS Build
Alternatives, with fewer
property impacts to
mitigate.

Substantially lower overall
harm due to shorter
project limits and fewer
Section 4(f) properties
impacted.

Less harm than DEIS
Build Alternatives

Modified project limits
to avoid Section 4(f)
properties, in response
to feedback from OW4J;
coordination ongoing
until Final Section 4(f)

Meets Purpose and
Need to a Lesser
Degree

Substantially lower
magnitude of overall
impacts to properties not
protected by Section 4(f)
due to shorter project
limits

Cost of Alternative would
be between $3.0 and $3.5
Billion.

Would meet the Purpose and Need. Would have
substantially lower impacts to Section 4(f)
properties and resources not protected by Section
A(f) due to shorter project limits.

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iv. The views of the
official(s) with
jurisdiction over each
Section 4(f) property

v. The degree to which

each alternative meets

the purpose and need
for the project

vi. After reasonable
mitigation, the
magnitude of any
adverse impacts to
properties not protected
by Section 4(f)

vii. Substantial
differences in costs
among the alternatives

Preliminary Summary

Other Alternatives Considered

OW4Js to provide views
during the review
period of the DEIS and
Draft Section 4(f)
Evaluation;
coordination ongoing
until Final Section 4(f}

Does not meet Purpose
and Need

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Cost of Alternative
would be between $7.0
and $8.1 Billion.
Not financially viable

owing to lower revenue.

The MD 200 Diversion Alternative would not address
the Study’s Purpose and Need of accommodating
long-term traffic growth, enhancing trip reliability or
improving the movement of goods and services.
Would not be financially self-sufficient.

OW4Js to provide views
during the review
period of the DEIS and
Draft Section 4(f)
Evaluation;
coordination ongoing
until Final Section 4(f)

Does not meet Purpose
and Need

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Cost of Alternative
would be between $7.8
and $8.5 Billion.
Not financially viable
owing to lower revenue.

Alternative 5 does not meet the Study’s Purpose and
Need because it does not address existing traffic and
long-term traffic growth or enhance trip reliability,
and it is not financially viable.

Location S$

pecific Options

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i. The ability to mitigate the remaining harm, after
adverse impacts to each mitigation, to the a .
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Alternatives

OW4Js to provide views
during the review
period of the DEIS and
Draft Section 4(f)
Evaluation;
coordination ongoing
until Final Section 4(f)

Meets
Purpose and Need

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-1 would meet the Purpose and Need of the
project, it would cost $600 million more to construct
than the DEIS Build Alternatives along this portion of
the project.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative
Not financially viable

owing to lower revenue

Option LS-2 would adequately meet the Purpose and
Need of the project, it would cost in excess of $1
billion more than the DEIS Build Alternatives along this
portion of the project.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-3 would result in 10.4 acres of additional
impacts to Section 4(f) properties, which would create
additional mitigation along this portion of the project
when compared to the DEIS Build Alternatives. Would
cost in excess of $1.7 billion more than the DEIS Build
Alternatives along this portion of the project.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives

When compared to the DEIS Build Alternatives, Option
LS-4 would result in 11 acres of additional impacts to
Section 4(f) properties and cost nearly $700 million
more.

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iv. The views of the
official(s) with
jurisdiction over each
Section 4(f) property

v. The degree to which

each alternative meets

the purpose and need
for the project

vi. After reasonable
mitigation, the
magnitude of any
adverse impacts to
properties not protected
by Section 4(f)

vii. Substantial
differences in costs
among the alternatives

Preliminary Summary

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OW4Js to provide views
during the review
period of the DEIS and
Draft Section 4(f)
Evaluation;
coordination ongoing
until Final Section 4(f)

Meets
Purpose and Need

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-5 would result in 3.8 acres of additional
impacts to Section 4(f) properties and cost $27 million
more than the DEIS Build Alternatives along this
portion of the Study.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-6 would cost $25 million more than the
DEIS Build Alternatives along this portion of the Study.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-7 would result in an increase of 12 acres of
impact to Section 4(f) properties, result in 547
additional relocations, and cost approximately $1.2
billion more than the DEIS Build Alternatives along this
portion of the Study.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-8 would result in 0.9 acres of additional
impacts to Section 4(f) properties and cost $250
million more than the DEIS Build Alternatives along
this portion of the Study.

Lesser Magnitude of
Adverse Impacts than
Build Alternative

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-9 would cost approximately $200 million
more than the DEIS Build Alternatives along this
portion of the Study.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

When compared to the DEIS Build Alternatives, Option
LS-10 would result in 6.1 acres of additional impacts to
one Section 4(f) property: BARC. Option LS-10 would
cost approximately $88 million more than the DEIS
Build Alternatives along this portion of the project.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-11 would cost approximately $500 million
more than the DEIS Build Alternatives along this
portion of the project.

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iv. The views of the
official(s) with
jurisdiction over each
Section 4(f) property

v. The degree to which

each alternative meets

the purpose and need
for the project

vi. After reasonable
mitigation, the
magnitude of any
adverse impacts to
properties not protected
by Section 4(f)

vii. Substantial
differences in costs
among the alternatives

Preliminary Summary

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Alternatives

OW/]s to provide views
during the review period
of the DEIS and Draft
Section 4(f) Evaluation;
coordination ongoing
until Final Section 4(f)

Meets
Purpose and Need

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Less cost than DEIS Build
Alternatives; greater cost
than the Preferred
Alternative

Option LS-12 would cost approximately $1 million less
than the DEIS Build Alternatives. However, Option LS-
12 would result in two displacements versus none by

the DEIS Build Alternatives or the Preferred Alternative.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-13 would cause severe impacts to
community resources, potentially resulting in the
relocation of 166 properties and cost approximately
$400 million more than the DEIS Build Alternatives.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-14 would cause additional impacts to
wetlands and forest resources and cost approximately
$125 million more than the DEIS Build Alternatives.

Lesser Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-15 would cost approximately $25 million
more than the DEIS Build Alternatives along this
portion of the Study.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-16 would cost approximately $1.6 billion
more than the DEIS Build Alternatives along this
portion of the project.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Greater Cost than DEIS
Build Alternatives or
Preferred Alternative

Option LS-17 would cost approximately $270 million
more than the DEIS Build Alternatives along this
portion of the project.

Greater Magnitude of
Adverse Impacts than
DEIS Build Alternatives

Less Cost than DEIS Build
Alternatives or Preferred
Alternative

Option LS-18 would be more difficult to permit than the

DEIS Build Alternatives.

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Based on the information presented in the Draft Section 4(f) Evaluation and this Updated Draft Section
A(f) Evaluation, FHWA and MDOT SHA have reached a preliminary conclusion that the Preferred
Alternative is the alternative with least overall harm. The Preferred Alternative meets the Purpose and
Need for the study and impacts far fewer Section 4(f) properties and total acreage relative to the other
Build Alternatives that would meet the Purpose and Need. The Preferred Alternative would avoid the use
of 38 Section 4(f) properties totaling approximately 105 acres relative to the DEIS Build Alternatives. The
Preferred Alternative would require use a total of 39.1 acres of Section 4(f) property (including temporary
and permanent), compared to 146.8 acres for the DEIS Build Alternative 9. Because the OWJs have not
had a chance to review the updated information related to the Preferred Alternative, and mitigation is
not yet finalized, this least overall harm conclusion is preliminary. Coordination with the OWJs has
continued since the DEIS and will continue to the Final Section 4(f) Evaluation and the FEIS. The Final
Section 4(f) Evaluation, FEIS, and Record of Decision (ROD) will include final mitigation commitments
including all possible planning to minimize harm developed in coordination with the OWJs, final de
minimis determinations with documented concurrence from the OWJs, and the final determination of the
alternative with least overall harm.

5.6 Coordination

Section 4(f) of the US Department of Transportation Act of 1966 mandates that use of a publicly-owned
park, recreation area, wildlife/waterfowl refuge, or historic site for a transportation project cannot be
approved unless certain conditions are applied. Section 4(f) regulations require the Draft Section 4(f)
Evaluation be made available for coordination and comment to OWJs over the Section 4(f) resource (23
CFR §774.5). Since the publication of the DEIS in July 2020, MDOT SHA has conducted conference calls,
meetings, and field reviews with, or sent letters to the following agencies with jurisdiction over parkland
along the Phase 1 South limits: NPS, M-NCPPC Montgomery County, National Capital Planning Commission
(NCPC), City of Rockville, and the City of Gaithersburg. FHWA and MDOT SHA have also held meetings and
coordinated with the agencies with jurisdiction over historic sites, including NPS, ACHP, NCPC, MHT, and
the VDHR. MDOT SHA has worked closely with the OWJs over all Section 4(f) properties to identify
minimization and mitigation measures necessary for Section 4(f) approval. Tables 7-4, 7-5 and 7-6 in
Chapter 7 of this document in detail the meetings held and topics covered. Coordination with the OWJs
will continue, as needed, through the development of the Final Section 4(f) Evaluation and will focus on
efforts to further reduce impacts and harm to Section 4(f) properties and the development of appropriate
Section 4(f) mitigation and enhancement opportunities. Prior to the Final Section 4(f) Evaluation, a draft
of the Final Section 4(f) Evaluation will be provided for coordination and comment to the OWJs over their
Section 4(f) resource, such as MHT for historic properties.

In addition to OW4Js, the Section 4(f) Evaluation must be made available to the US Department of the
Interior (USDOI) and as needed, to the US Department of Agriculture (USDA) and the Department of
Housing and Urban Development (HUD) (23 CFR §774.5). The Draft Section 4(f) Evaluation was provided
to USDOI for review in conjunction with the DEIS in July 2020. USDOI provided preliminary comments to
MDOT SHA but those comments did not represent the formal consultation of FHWA with USDOI, as
required under 23 CFR §774.5(a). USDOI will again be afforded the opportunity to review and provide
comments on the Updated Draft Section 4(f) Evaluation in conjunction with this chapter. However, formal
coordination with USDOI is not expected to occur until the Final Section 4(f) Evaluation as this will enable
USDOI to provide comments on FHWA’s conclusions regarding the existence of feasible and prudent

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avoidance alternatives, the inclusion of all possible planning to minimize harm to Section 4(f) properties
(including mitigation), and the least overall harm alternative. The Preferred Alternative would not affect
resources requiring coordination with USDA and HUD and, therefore, consultation with these agencies is
not necessary.

The public was afforded notice and opportunity for comment on the Draft Section 4(f) Evaluation per 23
CFR 774(b)(2). This public involvement has been conducted in conjunction with the overall NEPA
document public involvement process, as outlined in SDEIS, Chapter 7. Additional public notice and
opportunity for comment will be provided concurrent with the SDEIS.

Prior to making a Section 4(f) de minimis impact determination, public notice and opportunity for public
review is required. For historic resources, MDOT SHA has notified MHT and consulting parties of the intent
to make a de minimis impact determination via letters as part of the Section 106 process. For park
resources, the opportunity for public notice and review is occurring as part of the public review of the
DEIS and SDEIS as the intent to make a de minimis impact determination has been documented in the
Draft Section 4(f) Evaluation and the Updated Section 4(f) Evaluation. Prior to the Final Section 4(f)
Evaluation, a draft of the Final Section 4(f) Evaluation will be provided to the OWJs over each Section 4(f)
resource, such as MHT for historic properties, for review and comment.

5.7 Conclusion

Based on the information presented in the Draft Section 4(f) Evaluation and this Updated Draft Section
A(f) Evaluation, FHWA and MDOT SHA have reached a preliminary conclusion that the Preferred
Alternative is the alternative with least overall harm.

The Final Section 4(f) Evaluation will reflect ongoing coordination with OWJs to coordinate impacts and
mitigation, and de minimis coordination with the OWJs. The Final Section 4(f) Evaluation will also include
finalization of the analysis to demonstrate all possible planning to minimize harm, and finalization of the
Least Overall Harm Analysis, and final mitigation commitments.

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6 ONE FEDERAL DECISION

On January 20, 2021, Executive Order 13807: Establishing Discipline and Accountability in the
Environmental Review and Permitting Process for Infrastructure Projects, was revoked in the Executive
Order 13990: Protecting Public Health and the Environment and Restoring Science to Tackle the Climate
Crisis (https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/20/executive-order-
protecting-public-health-and-environment-and-restoring-science-to-tackle-climate-crisis/).

In the 2018 Memorandum of Understanding Implementing One Federal Decision Under Executive Order
13807! issued by the Office of Management and Budget (OMB) and the Council on Environmental Quality
(CEQ), the three concurrence points in the environmental review process where the lead Federal agency
must request the concurrence of Cooperating Agencies with authorization decision responsibilities were:

« Purpose and Need (generally prior to the issuance of the notice of intent for an infrastructure
project);

e Alternatives to be carried forward for evaluation (prior to detailed analysis in the Draft EIS); and
e = Identified preferred alternative (prior to identification in the Draft EIS or the Final EIS).

Written concurrence was received? on the Purpose and Need on May 16, 2018, on the ARDS on June 5,
2019, and on the Revised ARDS on October 16, 2019, and Recommended Preferred Alternative on June
29, 2021. Refer to SDEIS, Chapter 7 for a summary of the agency coordination that has occurred since
the publication of the DEIS in July 2020. Agency coordination will continue through the completion of
NEPA. The final list of necessary permits, approvals and authorizations will be included in the Final
Environmental Impact Statement and Record of Decision.

1 Memorandum of Understanding Implementing One Federal Decision Under Executive Order 13807,

https://www.whitehouse.gov/wp-content/uploads/2018/04/MOU-One-Federal-Decision-m-18-13-Part-2-1. pdf

2 NCPC concurred on the Purpose and Need only; M-NCPPC did not concur on Purpose and Need or ARDS, including revised

ARDS
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7 PUBLIC INVOLVEMENT AND AGENCY COORDINATION

Outreach to and engagement with the public, stakeholders and agencies has continued
since the publication of the DEIS in July of 2020. The summary of outreach that occurred up
to the publication of the DEIS is available in Chapter 7 of the DEIS and DEIS, Appendix P.

DEIS, Chapter 7: https://495-270-p3.com/wp-content/uploads/2020/11/2020-06-
02 DEIS_07 PIA _Coordination.pdf

DEIS, Appendix P: https://495-270-p3.com/wp-
content/uploads/2020/07/DEIS_AppP_PITR_web.pdf

This SDEIS chapter Updates coordination from July 2020 through June of 2021, including:

e The public involvement efforts during the DEIS Comment Period, including specific
outreach to environmental justice populations,

e Stakeholder and community engagement, and

e Agency coordination that has occurred related to NEPA, Permitting, Section 106 and
Section 4(f) coordination.

7.1. Introduction

A comprehensive public involvement and agency coordination program has been conducted throughout
the I-495 & I-270 Managed Lanes Study (Study). This chapter summarizes the outreach, engagement, and
agency consultation that has occurred since publication of the Draft Environmental Impact Statement
(DEIS) on July 10, 2020.

7.2. Public Involvement

7.2.1 DEIS Notice of Availability and Comment Period

The DEIS was published on July 10, 2020 and was made available on the I-495 & |-270 P3 Program webpage
(https://495-270-p3.com/deis/) and on the US Environmental Protection Agency (EPA) EIS Database
webpage. The DEIS comment period was 120-days, from July 10, 2020 to November 9, 2020.

Opportunities to comment on the DEIS were provided by the following ways:

Oral testimony at one of the Public Hearings in the main hearing room

Oral testimony to a court reporter at a Public Hearing in private in a separate room

DEIS comment form at https://495-270-p3.com/DEIS/

Email to MLS-NEPA-P3 @mdot.maryland.gov

Written comments on a comment form at a Public Hearing

Letters to Lisa B. Choplin, DBIA, I|-495 & I-270 P3 Program Director, I-495 & |-270 P3 Office, 707
North Calvert Street, Mail Stop P-601, Baltimore MD 21202

Four virtual or online hearings were held during the DEIS Comment Period on the following days:

e Tuesday, August 18, 2020
e Thursday, August 20, 2020

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« Tuesday, August 25, 2020

e Thursday, September 3, 2020

Two in-person hearings were held during the DEIS Comment Period on:

« Tuesday, September 1, 2020
« Thursday, September 10, 2020

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To provide persons without electronic access to view the DEIS in hard copy, MDOT SHA and FHWA
employed innovative approaches due to widespread closures of many public facilities, including libraries,
caused by the global, 2020 COVID-19 pandemic. Due to these closures of public facilities, temporary

facilities to house the DEIS for public review were provided at eight community-based public library

parking lot locations along the study corridors, as well as one location in Washington, D.C. Lobbies at six

centrally-located post offices in Montgomery and Prince George’s Counties were also used for DEIS
viewing locations. Locations were available during the week and weekend days, with day and evening
hours to provide adequate options for the public to view the documents. Lastly, six select MDOT SHA,
Maryland Transportation Authority (MDTA), and Virginia Department of Transportation (VDOT) offices
within or near the study area were also open to the public for viewing of the DEIS and Technical Reports.

Each DEIS viewing location was compliant with the Americans with Disabilities Act (ADA) and equipped

with required Personal Protective Equipment (PPE), including masks, hand sanitizers, and antibacterial
cleaning solution. A strict safety protocol, in compliance with the State-mandated COVID-19 guidelines,
was followed to ensure the safety of the public and MDOT SHA staff. A full list of the 21 DEIS viewing
locations and hours when the location was open for viewing the documentation are included in Table 7-1.

Table 7-1: DEIS Viewing Locations

COUNTY LOCATION VIEWING TIMES

1 Prince George’s LARGO-KETTERING LIBRARY Tues. & Thurs. 11 AM—7 PM
9601 Capital Ln Sun. 12 PM—-5 PM
Largo, MD 20774

2 Prince George’s NEW CARROLLTON LIBRARY Tues. & Thurs. 11 AM—7 PM
7414 Riverdale Rd Sun. 12 PM—-5 PM
New Carrollton, MD 20784

3 Prince George’s GLENARDEN LIBRARY Tues. & Thurs. 11 AM—-—7 PM
8724 Glenarden Pkwy Sun. 12 PM—5 PM
Glenarden, MD 20706

4 Prince George’s SPAULDINGS LIBRARY Tues. & Thurs. 11 AM—7 PM
5811 Old Silver Hill Rd Sun. 12 PM—-5 PM
District Heights, MD 20747

5 Prince George’s MDOT SHA D3 OFFICE Mon. — Fri. 11 AM—7 PM
9300 Kenilworth Ave Sat. & Sun. 12 PM—5 PM
Greenbelt, MD 20770

6 Prince George’s KENILWORTH POST OFFICE Mon. —Fri.9 AM—5 PM
6270 Kenilworth Ave Sat. 9 AM—12 PM
Riverdale, MD 20737

7 Prince George’s HAMPTON PARK POST OFFICE Mon. — Fri. 9 AM—5 PM
9201 Edgeworth Dr. Sat.9 AM—4 PM
Capitol Heights, MD 20790

8 Prince George’s LARGO POST OFFICE Mon. — Fri. 9 AM-—5 PM
9801 Apollo Dr. Sat.9 AM—3 PM

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COUNTY LOCATION VIEWING TIMES

Upper Marlboro, MD 20774

9 Prince George’s TEMPLE HILLS POST OFFICE Mon. — Fri. 9 AM—5 PM
4806 Saint Barnabas Rd. Sat. 9 AM — 2:30 PM
Temple Hills, MD 20748

10 Montgomery CHEVY CHASE LIBRARY Tues. & Thurs. 11 AM—7 PM
8005 Connecticut Ave Sun. 12 PM-—5 PM
Chevy Chase, MD 20815

11 Montgomery DAVIS (N. BETHESDA) LIBRARY Tues. & Thurs. 11 AM—-—7 PM
6400 Democracy Blvd Sun. 12 PM—5 PM
Bethesda, MD 20817

12 Montgomery KENSINGTON PARK LIBRARY Tues. & Thurs. 11 AM—-—7 PM
4201 Knowles Ave Sun. 12 PM—5 PM
Kensington, MD 20895

13 Montgomery POTOMAC LIBRARY Tues. & Thurs. 11 AM—7 PM
10101 Glenolden Dr Sun. 12 PM-—5 PM
Potomac, MD 20854

14 Montgomery MDOT SHA GAITHERSBURG SHOP Mon. —Fri. 11 AM—7 PM
502 Quince Orchard Rd Sat. & Sun. 12 PM—5 PM
Gaithersburg, MD 20878

15 Montgomery MDOT SHA MD 200 WEST OPERATIONS | Mon. —Fri. 11 AM—7 PM
16902 Crabbs Branch Way Sat. & Sun. 12 PM—5 PM
Rockville, MD 20855

16 Montgomery MDOT SHA FAIRLAND SHOP Mon. —Fri. 11 AM—7 PM
12020 Plum Orchard Rd. Sat. & Sun. 12 PM—5 PM
Silver Spring, MD 20904

17 Montgomery MDOT SHA SILVER SPRING OFFICE Mon. —Fri. 11 AM—7 PM
8537 Georgia Ave Sat. & Sun. 12 PM—5 PM
Silver Spring, MD 20904

18 Montgomery WEST LAKE POST OFFICE Mon. — Fri. 9 AM—5 PM
10421 Motor City Dr Sat.9 AM—1PM
Bethesda, MD 20817

19 Montgomery ROCKVILLE POST OFFICE Mon. — Fri. 9 AM—5 PM
500 N. Washington St Sat.9 AM—4PM
Rockville, MD 20850

20 Fairfax, VA VDOT N. VA DISTRICT OFFICE Mon. — Fri. 9 AM—4 PM
4975 Alliance Dr
Fairfax, VA 22030

21 Washington, DC* SHEPHERD PARK LIBRARY Mon. — Fri. 11 AM —2 PM
7420 Georgia Ave NW and 3 PM—7 PM
Washington, DC 20012

Note: Documentation included approximately 150 Flyers, 20 Executive Summaries, Staff Reference sheets, Comment Forms,
Sign-in sheets, and Brochures.

*Flash drive only (no other documentation)

The extensive and innovative efforts to provide opportunity for public comment on the DEIS was
unprecedented in Maryland. MDOT SHA and FHWA successfully held four virtual public hearings, each
lasting nine hours, to maximize the opportunity for participation throughout the day. The virtual public
hearings were held on the following dates from 9 AM to 8 PM (including two short breaks):

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« Tuesday, August 18, 2020;

« Thursday, August 20, 2020;

* Tuesday, August 25, 2020; and
e Thursday, September 3, 2020.

Approximately 400 people participated in the virtual public hearings.

Two, in-person public hearings were also held in early September 2020, each lasting nine hours, in full
compliance with State-mandated COVID-19 guidelines to keep both the public and staff safe. In-person
hearings included a live presentation repeated at the beginning of the morning, afternoon, and evening
sessions. The in-person public hearings were held on the following dates from 12 PM to 9 PM (including
one short break):

* Tuesday, September 1, 2020, at Homewood Suites by Hilton (9103 Basil Court, Largo, MD 20774);
and

e Thursday, September 10, 2020, at Hilton Executive Meeting Center (1750 Rockville Pike Rockville,
MD 20852).

A total of 22 people attended the in-person public hearings.

Each virtual and in-person hearing could be listened to live via phone to accommodate persons without
access to a computer. The public and elected officials could register to provide verbal testimony during
both the virtual and in-person hearings and had the option to provide voicemail testimony during any of
the six public hearings. The virtual hearings held were live-streamed on YouTube with automatic closed
captioning. For full transparency, the recorded testimony was transcribed and posted on the |-495 & I-
270 P3 Program webpage (https://495-270-p3.com/your-participation/past-public-outreach/) along with

the in-person public hearing testimony transcripts. Plain-text versions of the presentation script and
display boards were also uploaded to the program website so that website visitors may use Google
translate and/or text-to-voice programs for the visually impaired.

The MDOT SHA and FHWA granted a 30-day extension of the public comment period for the DEIS. A 90-
day comment period was originally provided on the DEIS, twice the minimum time required by FHWA.
Based on input from the public, community partners, stakeholders and local and federal officials, MDOT
SHA supported extending the comment period to 120 days and made a formal request to FHWA, which
has authority to grant any extension. FHWA approved the request, and comments on the DEIS were
accepted until November 9, 2020.

7.2.2 Public Outreach with Environmental Justice (EJ) Populations

In addition to standard public notifications of the availability of the DEIS and notification of the Public
Hearings and associated comment period, MDOT SHA implemented additional notification methods to
encourage meaningful involvement by low-income and minority race/ethnicity populations, as well as
other traditionally marginalized populations in review of the DEIS and participation in the Public Hearings.
These efforts include the following:

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e Mailed flyers in English, Spanish, Amharic, and French? flyers to approximately 200 affordable
housing complexes, schools, and places of worship? in the study area. Emailed PDFs of these
flyers to the organizations that have email addresses listed online. A cover letter was sent with
both forms of distribution.

e Uploaded to the project website the DEIS Executive Summary translated into Spanish, Amharic,
and French.

@ Provided hard copies of the translated DEIS Executive Summary at the DEIS viewing locations.

e Spanish language advertisements in F/ Tiempo Latino, Washington Hispanic, and on
eltiempo.com.

e Additional County outreach:

o Montgomery County News press release;
o Inclusion in Montgomery County Executive’s weekly newsletter;
o Inclusion in Montgomery County Department of Transportation bi-weekly newsletter and
social media posts;
o Distribution of flyer via Maryland-National Capital Park and Planning Commission (M-
NCPPC) Prince George’s County Planning email databases;
=" Planning Department listserv with approximately 19,200 email addresses;
"= Community Association listserv with approximately 700 email addresses;

© Inclusion in Prince George’s County social media posts; and
o Coordination with Prince George’s County Faith-Based Advisory Board to distribute
information to their ministry listserv with approximately 70 email addresses.

e Additional translation of flyer to Simplified Chinese, Korean, Malayalam, Punjabi, Tagalog, and
Yoruba, uploaded to the project website, and distribution of hard copies to groceries largely
serving immigrant communities.

ALDI (Beltsville, Lanham)

Anarkali Bazar (Greenbelt)

Giant Food (Greenbelt, Largo, Marlow Heights)
Global International Grocery (Silver Spring)

Great Wall Supermarket (Rockville)

Jumbo Food International Supermarket (Temple Hills)
La Colonia International Supermarket (Camp Springs)
Las Americas Market (Rockville)

Latino Market Grocery (Gaithersburg)

Lidl (District Heights)

Periyar Asian Grocery (Landover Hills)

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Safeway (Greenbelt)

1 Spanish, French, and Amharic are the top primary languages of English for Speakers of Other Languages (ESOL)
learners in both counties.

? Includes Environmental Justice (EJ)- area schools with above-average participation in the Free and Reduced-price
Meals Program; places of worship in EJ areas; and all affordable-housing complexes within the study area.

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o Save A Lot (Forestville)
o Shoppers (College Park, Forestville, Largo, New Carrollton)

Since the DEIS publication and in response to comments from the EPA, an EJ Working Group was
established to support the EJ analysis and outreach efforts to be conducted for the Study moving forward.
Agency members include FHWA, EPA, MDOT SHA, Maryland Department of Planning (MDP), Montgomery
County Department of Transportation (MCDOT), M-NCPPC, and Prince George’s County Department of
Public Works and Transportation (DPW&T). The goals of the EJ Working Group are to:

« Develop potential mitigation measures and identify additional outreach opportunities using
federal, state, and local experience;

e Identify potential commitments to EJ/public health mitigation measures related to social/health
vulnerability indicators; and

« Identify recommendations for additional engagement opportunities including Final

Environmental Impact Statement (FEIS) notifications and post-NEPA outreach to communities.
Since the DEIS was published, two EJ Working Group meetings have occurred (Table 7-2).

Table 7-2: Environmental Justice Working Group Meetings

DATE AGENDA ITEMS
March 2, 2021 Kick-off Meeting; introductions, goals
April 7, 2021 Data collection to support existing conditions discussion in EJ Analysis; Discussion on

EJ Public Outreach Plan and future opportunities; Mitigation considerations
September 15, 2021 EJ Outreach and Engagement Plan Through SDEIS/FEIS/ROD

7.2.3 Other Community Meetings and Stakeholder Outreach Events

Engagement with communities, stakeholders and elected officials continued to occur after the DEIS was
published in July 2020 (Table 7-3). All meetings except for one were held virtually due to the COVID-19
Pandemic. The focus of this engagement was to better understand comments received on the DEIS,
provide Study related updates, and seek feedback on a host of topics including effects of COVID-19 on
traffic, transit opportunities, alternatives design, managed lanes access, bicycle and pedestrian
improvements, economic benefits and environmental concerns. MDOT SHA continued engaging with
stakeholder working groups that were either initiated before the DEIS or developed after including the
Transit Working Group, Regional Economic Working Group, and Environmental Justice Working Group, as
discussed above. In February 2021, MDOT SHA reinitiated meetings, held virtually, with several
Homeowners’ Associations (HOAs) and Community Associations. Active engagement with stakeholders,
communities, and elected official will continue to occur as the Study progresses. On April 6, 2021, an e-
mail blast was sent to more than 600 e-mail addresses compiled from the Montgomery County Mailing
List Generator for Homeowners Associations, Citizens and Civic Associations. HOA and CA leaders along
the project corridor were invited to schedule a project briefing by the project team for their community.
Ten groups responded, seven briefings were scheduled and held, and three briefings are planned for later
in the year. In addition, MDOT SHA has held over 40 meetings with elected officials.

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Table 7-3: Stakeholder and Community Meetings

DATE ORGANIZATION

July 9, 2020 Northern Virginia Transportation Alliance

July 20, 2020 Montgomery County Council Transportation & Environment Committee Briefing
July 21, 2020 Greater Washington Partnership

September 3, 2020

Stakeholder Group Briefing (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

September 14, 2020

Montgomery County Department of Transportation

September 15, 2020

Prince George’s County Department of Public Works and Transportation

September 22, 2020

Prince George’s County Council Briefing

October 5, 2020

Virginia Department of Transportation 495 NEXT Project Public Hearing

October 6, 2020

Frederick County Department of Transportation

October 8, 2020

Virginia Department of Transportation 495 NEXT Project Public Hearing (in-person)

October 26, 2020

Montgomery County Council Transportation and Environment Committee

November 6, 2020

Disadvantaged Business Enterprise Opportunity MDOT Networking Event

November 10, 2020

Northern Virginia Transportation Alliance “What You Need to Know About
Transportation” Seminar

November 16, 2020

Upcounty Citizens Advisory Board Land Use Committee

November 18, 2020

Greater Washington Partnership Capital Region Transportation Forum

November 20, 2020

Frederick County Department of Transportation

November 20, 2020

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

December 1, 2020

Great Seneca Science Corridor |AC

December 4, 2020

Maryland Transportation Builders and Materials Association Together for Transportation

Coalition

December 9, 2020

Montgomery County Business Roundtable

December 18, 2020

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

January 15, 2021

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

January 19, 2021

Northern Virginia Transportation Alliance/Suburban Maryland Transportation Alliance

Joint Briefing

January 19, 2021

MDOT Office of Small Business Policy Small Business Enterprise Outreach Event

January 26, 2021

Transit Work Group

February 3, 2021

Regional Economic Work Group

February 4, 2021

Laborers International Union of North America

February 8, 2021

Montgomery County Economic Development Corporation

February 10, 2021

Leadership Montgomery

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DATE

ORGANIZATION

February 12, 2021

Asian American Chamber of Commerce

February 19, 2021

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

February 19, 2021

Montgomery County Department of Transportation Office of Small and Minority SBE
Outreach

February 24, 2021

Regency Estates Civic Association

February 24, 2021

Conference of Minority Transportation Officials

February 25, 2021

Lantian Development

March 1, 2021

Washington Biologists’ Field Club (WBFC)

March 12, 2021

ASHE Potomac Chapter

March 19, 2021

Hispanic Chamber of Commerce of Montgomery County

March 30, 2021

Peterson Companies

March 31, 2021

Regional Economic Work Group

April 14, 2021

Frederick County Chamber Transportation Advisory Committee

April 16, 2021

Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

April 20, 2021

Montgomery County Civic Federation

April 26, 2021

ITE Annual Meeting

April 29, 2021

George Mason University P3 Panel

April 30, 2021

Rubenstein Partners

May 6, 2021 Opportunity MDOT Stakeholders Meeting

May 11, 2021 Avonglen HOA

May 20, 2021 Rosemont Citizens Association

May 25, 2021 Maplewood Park HOA

May 26, 2021 Regional Economic Work Group Steering Committee

June 2, 2021

North Potomac Citizens Association

June 2, 2021

Friends of Moses Hall Cemetery and First Agape AME Zion Church Stakeholder Group

June 8, 2021

Luxmanor Citizens Association

June 10, 2021

Joint Briefing for Budget Committee Staff

June 11, 2021

Leadership Montgomery

June 15, 2021

Rock Creek Conservancy Advocacy Committee

June 24, 2021

Regional Economic Work Group

July 22, 2021

Hispanic Chamber of Commerce of Montgomery County

August 3, 2021

Frederick County Department of Transportation

August 13, 2021

Frederick Keys Baseball Game (Pop-up Event with informational booth)

August 18, 2021

Shady Grove Farmers Market (Pop-up Event with informational booth)

August 28, 2021

Derwood Farmers Market (Pop-up Event with informational booth)

September 4, 2021

Rockville Arts Festival (Pop-up Event with informational booth)

Note: All meetings held virtually unless otherwise denoted.

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7.2.4 SDEIS Comment Period and Public Hearing

FHWA and MDOT SHA invite interested elected officials, state and local governments, other Federal
agencies, Native American tribal governments, organizations, and members of the public to provide
comments on the SDEIS.

The public comment period opens on October 1, 2021 and will continue until November 15, 2021. Written
and oral comments will be given equal consideration, and FHWA will review all comments, and consider
and respond to all substantive comments received or postmarked by that date in the preparation of the
FEIS. Comments received or postmarked after that date will be reviewed and considered to the extent
practicable. Comments on the SDEIS may be made by:

* Oral testimony at the Virtual Public Hearing, on November 1, 2021

e SDEIS comment form at oplanesmd.com/SDEIS

¢ Email to MLS-NEPA-P3@mdot.maryland.gov

e Letters to Jeff Folden, I-495 & I-270 P3 Program Deputy Director, I|-495 & I-270 P3 Office, 707
North Calvert Street, Mail Stop P-601, Baltimore MD 21202

e Call-in a comment at 855-432-1483 and leave a voicemail that is limited to three minutes

The SDEIS Virtual Public Hearing will be held on November 1, 2021 with two sessions to provide the public
an opportunity to provide live oral testimony on the SDEIS. Session 1 is from 2 PM to 4 PM and Session 2
is from 6 PM to 8 PM. Individuals are required to register in advance to be admitted to the phone queue
for comment. Registration is available at oplanesmd.com/SDEIS or by calling 855-432-1483. Instructions
will be emailed to registered individuals with their approved session time prior to the hearings.

At the start of each session, the Hearing Officer will give a brief presentation which includes the purpose
of the hearing, ground rules of the hearing, how to comment on the SDEIS, and instructions on how to
testify. He will also explain Title VI, on behalf of MDOT SHA. Responses to questions will not be given at

the hearing; responses to comments will be provided in the FEIS.

In addition to verbal public testimony, stakeholders may provide one-on-one testimony during the call-in
hearing sessions by calling 855-432-1483 and leaving a single voicemail message limited to three minutes.
The public can listen live to the hearing sessions via telephone by calling 855-432-1483 or livestream at
oplanesmd.com/SDEIS. After the hearing, transcripts will be available on the website.

The SDEIS document, supporting appendices, hearing materials, information displays, and interactive
digital mapping will be available on the Program website oplanesmd.com/SDEIS beginning Friday, October
1, 2021.

7.3. Agency and Stakeholder Coordination

The FHWA and MDOT SHA actively engaged the Federal, state, regional, and local agencies, as well as the
adjacent counties, Metropolitan Planning Organizations (MPO), and other agency stakeholders
throughout the Study process, simultaneously with other public involvement efforts. Additional detail on
agency coordination conducted up to DEIS publication is available in DEIS, Chapter 7 (https://495-270-
p3.com/wp-content/uploads/2020/11/2020-06-02 DEIS 07 PIA Coordination.pdf) and DEIS, Appendix
P (https://495-270-p3.com/wp-content/uploads/2020/07/DEIS AppP PITR web.pdf).

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Since the DEIS was published in July 2020, MDOT SHA has continued to meet with FHWA, as the Lead
Federal Agency, the Cooperating Agencies and other state and local agencies and stakeholders. The
meetings are listed in Table 7-4 and focused on discussing individual agencies’ and stakeholders’ DEIS

comments and working towards a resolution of critical study topics. Other ongoing agency involved

collaboration and consultation has included: Section 106 Consulting Parties meetings, Executive Steering

Committee meetings, and the establishment of the Environmental Justice Working Group. MDOT SHA

continues to address DEIS comments and further minimized the limits of disturbance based in part on
agency coordination. Areas of substantial resource avoidance or minimization include the American
Legion Bridge area where impacts have been reduced by over fifty percent since the DEIS; the Morningstar
Tabernacle No. 88 Moses Hall and Cemetery where design refinements resulted in complete avoidance;

and M-NCPPC parkland where MDOT SHA continues to address location specific comments and outfall

stabilization. These avoidance and minimization efforts were based on the extensive agency coordination
as detailed in Table 7-4 through Table 7-8. Another focus area for avoidance and minimization was located
adjacent to the I-495 inner loop just south of Cabin John Parkway.

Table 7-4: Agency & Stakeholder Coordination Meetings Post-DEIS Publication

DATE

PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

August 3, 2020

Stream Mitigation Calculator Coordination

US Army Corps of Engineers (USACE) and Maryland
Department of the Environment (MDE)

August 6, 2020

Water and Science Administration Working
Meeting

MDE

August 17, 2020

Park Impacts and Mitigation Meeting

M-NCPPC Montgomery County

September 3, 2020

Wetland Mitigation Meeting

National Park Service (NPS) and FHWA

September 21, 2020

Park Impacts and Mitigation Meeting

M-NCPPC Montgomery County

September 28, 2020

Park Impacts and Mitigation Meeting

M-NCPPC Prince George’s County

September 29, 2020

Informal Section 7 Consultation

US Fish and Wildlife Service (USFWS), FHWA, and
Maryland Department of Natural Resources (MDNR)

October 5, 2020

Wetland Mitigation Meeting

NPS

October 20, 2020

Park Impacts and Mitigation Meeting

M-NCPPC Montgomery County

October 20, 2020

Bicycle and Pedestrian Improvements
Coordination Meeting

M-NCPPC Prince George’s County and Prince
George’s County DPW&T

November 2, 2020

Right-of-Way Coordination Meeting

M-NCPPC Montgomery County

November 23, 2020

Permitting Strategy Meeting

FHWA, USACE, MDE, and EPA

December 1, 2020

Biweekly FHWA Coordination Meeting

FHWA

December 1, 2020

Northwest Branch Stormwater
Management Meeting

M-NCPPC Montgomery County

December 2, 2020

Permitting Strategy Meeting

USACE, MDE, EPA, and FHWA

December 8, 2020

Plummers Island Avoidance and
Minimization Efforts Meeting

NPS, MDNR, USFWS, MDE, USACE, and FHWA

December 11, 2020

Bicycle and Pedestrian Improvements
Coordination Meeting

M-NCPPC Montgomery County and Montgomery
County Department of Transportation (DOT)

December 11, 2020

Culvert Field Meeting

EPA, MDE, USACE and FHWA

December 14, 2020

DEIS Comments Review Meeting

NPS and FHWA

December 15, 2020 | Reoccurring FHWA Coordination Meeting FHWA
December 17, 2020 | Permitting Strategy Meeting FHWA, USACE, MDE, and EPA
January 12, 2021 Reoccurring FHWA Coordination Meeting FHWA

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DATE

PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

January 19, 2021

Issue Resolution Kick-off Meeting

M-NCPPC Montgomery and Prince George’s County

January 20, 2021

Northwest Branch Stormwater
Management Meeting

M-NCPPC Montgomery County

February 1, 2021

Collaborative Leadership Summit

FHWA, USACE, EPA, NPS, National Park and Planning
Commission (NCPC), USFWS, US Postal Service
(USPS), National Oceanic and Atmospheric
Administration National Marine Fisheries Service
(NOAA NMFS), US NAVY, MDNR, MDE, M-NCPPC,
VDOT, Maryland Historical Trust (MHT), MDP, MDTA,
Maryland Transit Authority (MTA), MC DOT, and PG
DW&T

February 3, 2021

DEIS Comments Review Meeting

NCPC and FHWA

February 3, 2021

Reoccurring FHWA Coordination Meeting

FHWA

February 8, 2021

American Legion Bridge and Baltimore-
Washington Parkway Impacts Coordination
Meeting

NPS and FHWA

February 9, 2021

MLS and |-495 NEXT Coordination Meeting

VDOT

February 9, 2021

DEIS Comments Review Meeting

MDNR and FHWA

February 10, 2021 DEIS Comments Review Meeting USACE, MDE, and FHWA

February 11, 2021 Reoccurring FHWA Coordination Meeting FHWA

February 18, 2021 DEIS Comments Review Meeting EPA and FHWA

February 25, 2021 Executive Steering Committee FHWA, USACE, US Department of Agriculture (USDA),
EPA, NPS, NCPC, USFWS, USPS, NOAA NMFS, US
Navy, US Airforce Joint Base Andrews (JBA), MDNR,
MDE, M-NCPPC, VDOT, MHT, MDP, MDTA, MTA, MC
DOT, and PG DPW&T

February 26, 2021 Carderock and Bethesda Property Impacts US Navy and FHWA

Meeting

March 2, 2021

Reoccurring FHWA Coordination Meeting

FHWA

March 4, 2021

American Legion Bridge, Baltimore-
Washington Parkway, and George
Washington Memorial Parkway Impacts
Coordination Meeting

NPS and FHWA

March 10, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Montgomery County

March 15, 2021

DEIS Comments Review Meeting

M-NCPPC Montgomery County

March 17, 2021

Reoccurring FHWA Coordination Meeting

FHWA

March 19, 2021

Stormwater Management Meeting

M-NCPPC Prince George’s County

March 24, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Prince George’s County

April 1, 2021 Transportation Use and Property Boundary | NPS and FHWA
Meeting

April 6, 2021 American Legion Bridge and Resources USACE and MDE
Update Meeting

April 6, 2021 Reoccurring FHWA Coordination Meeting FHWA

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PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

April 9, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Prince George’s County

April 12, 2021

Rock Creek DEIS Comments Review
Meeting

M-NCPPC Montgomery County

April 13, 2021 Stormwater Management Site Meeting M-NCPPC Montgomery County
May 4, 2021 Reoccurring FHWA Coordination Meeting FHWA
May 12, 2021 Phase 1 South Park Impacts and Mitigation | M-NCPPC Montgomery County

Meeting

May 18, 2021

SDEIS Air and Noise Coordination Meeting

FHWA

May 26, 2021

Executive Steering Committee

FHWA, USACE, EPA, NPS, NCPC, USFWS, USPS NOAA
NMFS, US Navy, JBA, MDNR, MDE, M-NCPPC, VDOT,
MHT, MDP, MDTA, MC DOT, and PG DPW&T

June 1, 2021

Reoccurring FHWA Coordination Meeting

FHWA

June 2, 2021 Mosses Hall Cemetery and First Agape AME | First Agape AME Zion Church at Gibson Grove,
Zion Church Bicycle and Pedestrian Friends of Moses Hall, M-NCPPC Montgomery
Connection on Seven Locks Road Meeting County, MCDOT, and FHWA

June 8, 2021 Air Quality Conformity Determination FHWA
Meeting

June 10, 2021 Compensatory Stormwater Management FHWA

Plan Meeting

June 21, 2021

Park Impacts and Mitigation Meeting

NPS and FHWA

June 21, 2021

American Legion Bridge Trail Connection
Meeting

M-NCPPC, MCDOT, NPS, and FHWA

June 21, 2021

Maryland and Virginia 495 Interface
Technical Coordination

VDOT

June 23, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

June 30, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

July 7, 2021

Air Quality Conformity

FHWA

July 8, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

July 12, 2021

Park Impacts

NCPC, NPS, FHWA

July 13, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

July 14, 2021 NPS Parkland Impacts FHWA

July 20, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

July 27, 2021 NEPA and Section 106 Process FHWA

August 3, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

August 9, 2021 Air Quality and Environmental Justice FHWA
Meeting

August 16, 2021 SDEIS Comments FHWA

August 17, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

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PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

August 18, 2021

Highway Deed Easement Process with NPS
and SDEIS Comments

FHWA

August 18, 2021

Reoccurring FHWA Coordination Meeting

FHWA

August 23, 2021

1-495 NEXT and MLS Coordination Meeting

VDOT and Fairfax County Department of
Transportation

August 25, 2021

SDEIS Comments

August 26, 2021 Air Quality SDEIS Comments FHWA
August 30, 2021 SDEIS Comments FHWA
August 31, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination

September 1, 2021

Review of Common SDEIS Comments

FHWA, NPS, USACE, EPA, NCPC, MDE, M-NCPPC,
MCDOT

September 7, 2021

Reoccurring FHWA Coordination Meeting

FHWA

Note: All meetings held virtually unless otherwise denoted.

Since the DEIS was published in July 2020, MDOT SHA held three virtual Interagency Agency Working
Group (IAWG) meetings with members from 27 Cooperating and Participating Agencies. The focus of the
IAWG meetings was to provide Study updates, present common DEIS comment themes, discuss proposed

responses to common comments, discuss ongoing public and agency collaboration, present avoidance

and minimization measures, and to identify the recommended preferred alternative, present justification

for recommending the alternative and to listen to feedback on the alternative (Table 7-5).

Table 7-5: IAWG Meetings Post-DEIS Publication

DATE IAWG MEETING # PURPOSE AGENCIES REPRESENTED
January 27, 2021 13 Provide MLS Study Update, Advisory Council on Historic Preservation
Review Summary of DEIS (ACHP), EPA, FHWA, USFWS, MDE, MDNR,
Comments, Announce MDOT MTA, MDP, MDTA, MHT, M-NCPPC,
Recommended Preferred Mc DOT, Metropolitan Washington Council of
Alternative and Associated Governments (MWCOG), US Navy, NCPC,
Commitments, and a New Agency National Institute of Standards and
and Stakeholder Collaboration Technology (NIST), NPS, PG DPW&T, USACE,
Process USPS, and VDOT
February 17, 2021 14 Provide Update on Agency and ACHP, EPA, FHWA, USFWS, MDE, MDNR,
Stakeholder Collaboration Efforts, | MDOT MTA, MDP, MHT, M-NCPPC, MC DOT,
Design Efforts to address common MWCOG, US Navy, NCPC, NIST, NPS, PG
DEIS Comments, Review DPW&T, USACE, USDA, USDA, USPS, VDOT,
Recommended Preferred JBA
alternative
May 12, 2021 15 Provide MLS Update, Announce a ACHP, EPA, FHWA, USFWS, MDE, MDNR,
New Recommended Preferred MDOT MTA, MDOT MDTA, MHT, M-NCPPC,
Alternative based off of Agency Mc DOT, MWCOG, US Navy, NIST, PG
and Public Feedback, Announce DPW&T, USACE, USDA, USPS, VDOT, JBA
this SDIES, and Provide an
Updated MLS Schedule

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MDOT SHA also met with the City of Rockville and City of Gaithersburg to discuss DEIS comments, property
impacts, proposed stormwater management, parkland impacts and mitigation, bicycle and pedestrian
improvements, traffic and structure design within the applicable City’s limits (Table 7-6).

Table 7-6: City of Rockville and City of Gaithersburg Meetings Post-DEIS Publication

DATE MEETING

March 19, 2021 City of Rockville Coordination Meeting

April 14, 2021 City of Rockville Stormwater Management Coordination Meeting
April 29, 2021 City of Rockville Parkland and Mitigation Meeting

July 22, 2021

City of Gaithersburg Parkland and Mitigation Meeting

September 2, 2021

City of Rockville Design, Traffic, and Mitigation Meeting

7.3.1 Natural Resource Agency Coordination

The regulatory and permitting process was conducted concurrently with NEPA and required agency
consultation with the goal of gaining approval for a USACE Individual Section 404 Permit; MDE Wetlands
and Waterways Permit; USFWS ESA Section 7; and MDE 401 Water Quality Certification. These approvals

required meetings for the following purposes:

e Jurisdictional Determination;
e Permitting strategy;

« Avoidance, minimization, and mitigation;

e Wetland delineation; and

e Rare, Threatened, and Endangered Species coordination.

Table 7-7 summarizes the meeting held since July 2020.

Table 7-7: Natural Resource Related Meetings

DATE AGENCIES GENERAL TOPICS COVERED
July 9, 2020 MDE and USACE Discussion of the logistics of the MLS Joint Public Hearings, both
virtual and in-person, for 404/401 purposes
July 21, 2020 DNR Review Additional Potential Fish Blockages noted by MDE and
USFWS Upstream and Downstream of the Paint Branch Fish
Passage Site (AN-6)
July 22, 2020 M-NCPPC Montgomery Montgomery County M-NCPPC Comments on the Tributary to
County Seneca Creek Site (CA-5) Concept Design
July 24, 2020 Washington Suburban Logistics for Proposed Mitigation Site Work Over WSSC Sewer
Sanitary Commission and Water Lines.
(WSSC)
August 12, 2020 M-NCPPC Montgomery Montgomery County M-NCPPC & WSSC Comments on the
County Crabbs Branch Site (AN-1) 404 Mitigation Concept Design
August 12, 2020 USACE Discussion of new regulatory definition of Waters of the US and
any implications on the Jurisdictional Determination
August 27, 2020 MDE Discussion of impacts within the MDE Tier II boundary and the

Tier II package requirements

September 3, 2020 NPS

Discussion of the Statement of Findings requirement as it
pertains to MLS and path forward for coordination meetings.

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AGENCIES

GENERAL TOPICS COVERED

September 4, 2020

USACE and MDE

Discussion with the regulatory agencies about how to apply the
MSMF stream calculator and which stream assessments to use.

September 29, 2020

M-NCPPC Montgomery
County

404 Mitigation Magruder Branch (CA-2/3) Site Preliminary
Design

September 29, 2020

FHWA

Culvert and permitting

September 29, 2020

USACE and MDE

Provide project updates and receive updates from the
regulatory agencies related to MLS permitting.

September 29, 2020 | DNR and USFWS MLS Informal Section 7 Consultation — 2020 Bat Survey Results
October 5, 2020 NPS Wetland Mitigation Meeting for CHOH and GWMP

October 14, 2020 NPS Wetland Mitigation for NPS National Capital Parks- East
October 15, 2020 FHWA, USACE, and MDE Permitting

October 16, 2020 MDE, USACE, DNR, and EPA | 404 Mitigation Magruder Branch (CA-2/3) and Pebblestone Dr.

Tributary Preliminary Designs

October 29, 2020

USACE and MDE

404 Permitting Update Meeting

November 9, 2020

FHWA, USACE, and MDE

Permitting

November 12, 2020

USACE and MDE

404 Permitting Update Meeting

November 18, 2020

M-NCPPC Montgomery
County

Stormwater Field Meeting

November 19, 2020

USACE and MDE

Stream Assessment Field Meeting

November 19, 2020

MDE and USACE

404 Mitigation Magruder Branch (CA-2/3) Wetland Delineation
Field Review

November 24, 2020

USACE and MDE

Permitting

December 1, 2020

M-NCPPC Montgomery
County

Stormwater Field Meeting

December 2, 2020

M-NCPPC Prince George’s
County

ROE Agreement Extension

December 8, 2020

USACE, MDE, FHWA, DNR,
USFWS, and NPS

Plummers Island Coordination

December 10, 2020

USACE and MDE

404 Permitting Update Meeting

December 11, 2020

EPA, MDE, USACE, and
FHWA

Culvert Field Meeting

December 14, 2020

EPA, FHWA, USACE, and
MDE

Phased Permit Process

December 21, 2020

MDE and USACE

Culvert Field Meeting

January 7, 2021

USACE and MDE

404 Permitting Update Meeting

January 14, 2021

MDE and USACE

Seneca Creek Tributary (CA-5) and Crabbs Branch (AN-1)
Wetland Delineation Field Reviews

January 19, 2021

MDE, USACE, and EPA

401 Water Quality Certification (WQC) Working Session

January 21, 2021

USACE and MDE

404 Permitting Update Meeting

January 22, 2021

MDE

404 Mitigation Henson Creek (RFP-5) and Mill Swamp Creek
(RFP-6) Wetland Delineation Field Reviews

February 4, 2021

USACE and MDE

404 Permitting Update Meeting

February 16, 2021

USACE and MDE

A presentation to the regulatory agencies of how the Maryland
Stream Mitigation Framework stream calculator is being
applied to the MLS.

February 18, 2021

USACE and MDE

404 Permitting Update Meeting

February 22, 2021

MDE, USACE, and EPA

401 WQC Working Session

March 1, 2021

NPS

Washington Biologists Field Club Coordination Meeting

March 4, 2021

USACE and MDE

404 Permitting Update Meeting

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AGENCIES

GENERAL TOPICS COVERED

March 9, 2021

MDE and USACE

Cabin Branch (RFP-2) and Pebblestone Dr. Tributary (AN-3)
Wetland Delineation Field Reviews

March 18, 2021

USACE and MDE

404 Permitting Update Meeting

March 19, 2021 PEPCO 404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Design

March 24, 2021 M-NCPPC Montgomery 404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
County, MDE, and USACE Design

Division (PRD)

April 1, 2021 MDE and USACE 404 Mitigation Indian Creek and Tributaries at Konterra (RFP-1)
Wetland Delineation Field Review
April 9, 2021 MDOT SHA Plan Review 404 Mitigation PRD Comments on the Magruder Branch (CA-

2/3) Site Development Submittal

April 16, 2021

MDE and USACE

404 Mitigation Indian Creek and Tributaries at Konterra (RFP-1)
Wetland Delineation Field Review

April 22, 2021

MDE and USACE

404 Permitting Update Meeting

May 6, 2021 M-NCPPC Montgomery 404 Mitigation Magruder Branch (CA-2/3) Semi-Final Design
County, MDE, and USACE
May 20, 2021 MDE and USACE 404 Permitting Update Meeting

June 15, 2021

MDE and USACE

Discussion of impact presentation in JPA and NEPA Documents

June 25, 2021

MDE and USACE

Compensatory SWM Site Wetlands & Waterways Delineation
Field Review

June 30, 2021

DNR

Mussel Survey

June 30, 2021

M-NCPPC Montgomery
County, MDE, and USACE

404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Field Meeting

July 1, 2021

MDE and USACE

404 Permitting Update Meeting

July 12, 2021

M-NCPPC Montgomery
County and MDE

404 Mitigation M-NCPPC Comments on the Magruder Branch
(CA-2/3) Semi-Final Design

July 15, 2021

MDE and USACE

404 Permitting Update Meeting

July 23, 2021 DNR Rare, Threatened, and Endangered Species and Boring
Locations
August 4, 2021 MDE and USACE LOD Review Meeting

August 19, 2021

USACE

Change in Jurisdiction for Navigable Waters Protection Rule

August 26, 2021

MDE and USACE

404 Permitting Update Meeting

September 7, 2021

M-NCPPC Montgomery
County

A(f) Mitigation Cabin John Creek Field Meeting

September 9, 2021

MDE and USACE

404 Permitting Update Meeting

7.3.2 Section 106 Consultation
Agency and interested parties consultation is being conducted in accordance with Section 106 of the
National Historic Preservation Act of 1966 that considers the effects of the proposed action on historic
properties. FHWA and MDOT SHA notified the agencies and other consulting parties of an update to the
undertaking’s Area of Potential Effects (APE), new architectural eligibility determinations, and effects

assessments on July 23, 2020. The agencies and other consulting parties received archaeological reports

documenting archaeological and architectural survey and evaluation efforts for stream and wetland
mitigation areas identified by the Study, as added to the APE in July 2020, as well as determination of
eligibility forms for architectural resources associated with the proposed off-site wetlands and water

quality mitigation sites on February 11, 2021.

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The FHWA and MDOT SHA held a fourth consulting parties’ meeting virtually on March 10, 2021. A draft
Programmatic Agreement was distributed for review and comment to the consulting parties on March 10,
2021 with the comment period ending April 12, 2021. MDOT SHA has continued to coordinate with
individuals consulting parties through informal meetings, email and other means as impacts to specific
resources are evaluated. MDOT SHA has conducted additional field work at the Moses Hall Cemetery,
and closely coordinated this effort with key consulting parties including the Friends of Moses Hall, the
trustees of the property, and the First Agape AME Zion Church at Gibson Grove. A draft report
documenting the fieldwork effort at Moses Hall Cemetery, with additional information on the Gibson
Grove AME Zion Church was provided to consulting parties for comment on May 27, 2021.

On September 8, 2021, MDOT SHA provided additional consultation materials including: additional
Ground Penetrating Radar results at the Morningstar Tabernacle No. 88 Moses Hall and Cemetery, a
revision to the APE to reflect the Phase 1 South limits including avoidance and minimization measures,
archaeological and historic architectural assessments of the proposed stormwater mitigation locations,
new determinations of eligibility, and revised effect determinations to reflect the reduced APE based on
the Phase 1 South limits. Additionally, a comment from VDHR was addressed to revise the effect
determination on one archaeological site in Virginia. Concurrence was requested from MHT on the
eligibility determinations and revised effect determinations, in accordance with each agency’s
jurisdictional authority.

The FHWA and MDOT SHA have also held separate meetings with consulting parties to discuss avoidance,
minimization, and mitigation efforts on adversely affected historic properties within the APE (Table 7-8).
Note that Section 106 public involvement is being fulfilled through the same processes used for general
public involvement and NEPA compliance.

Table 7-8: Section 106 Consultation Meetings Post-DEIS Publication

DATE ORGANIZATION

September 16, 2020 Friends of Moses Hall

November 10, 2020 Friends of Moses Hall

February 10, 2021 Friends of Moses Hall

March 10, 2021 Consulting Parties

April 6, 2021 First Agape AME Zion Church at Gibson
Grove

May 5, 2021 Virginia Department of Historic Resources
(VDHR), VDOT, and NPS

June 2, 2021 First Agape AME Zion Church at Gibson
Grove, Friends of Moses Hall, M-NCPPC
Montgomery County, MCDOT, and FHWA

September 8, 2021 First Agape AME Zion Church at Gibson
Grove, Friends of Moses Hall, M-NCPPC
Montgomery County, MCDOT, and FHWA

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7.3.3 Section 4(f) Agency Coordination

Section 4(f) of the US Department of Transportation Act of 1966 mandates that use of a publicly-owned
park, recreation area, wildlife/waterfowl refuge, or historic site for a transportation project cannot be
approved unless there is no feasible and prudent alternative that avoids such use and all possible planning
to minimize harm to Section 4(f) properties has been included in the project. In reaching the
determination that no feasible and prudent avoidance alternative exists and all possible planning to
minimize harm has been included in the project, Section 4(f) regulations require the Draft Section 4(f)
Evaluation be made available for coordination and comment to officials with jurisdiction over the Section
4(f) resources. The Draft Section 4(f) Evaluation was available for review and comment with the DEIS
comment period July 10 through November 9, 2020. The Draft Section 4(f) Evaluation is available on the
project website: https://495-270-p3.com/wp-content/uploads/2020/07/DEIS_AppF_Draft-Section-4f-

Eval _web.pdf.

Since July 2020, MDOT SHA has conducted conference calls, meetings, and field reviews with or sent
letters to the following officials with jurisdiction over parkland along the study corridors: NPS, M-NCPPC
Montgomery County, M-NCPPC Prince George’s County, NCPC, City of Rockville, City of Gaithersburg, City
of Greenbelt, City of New Carrollton, and Montgomery County Department of Education. FHWA and
MDOT SHA have also held meetings and coordinated with the agencies with jurisdiction over historic sites,
including NPS, the Advisory Council on Historic Preservation (ACHP), MHT, and VDHR. Through this
extensive coordination, MDOT SHA has provided detailed explanations of the proposed project design
and its associated impacts on Section 4(f) properties. MDOT SHA has also worked closely with the officials
with jurisdiction to further reduce impacts and minimize harm to Section 4(f) properties. These
minimization efforts are presented in Chapter 5 of this SDEIS. Additionally, MDOT SHA has developed
preliminary Section 4(f) mitigation opportunities and provided them to the officials with jurisdiction for
feedback. Coordination with the officials with jurisdiction will continue, as needed, through the
development of the Final Section 4(f) Evaluation and will focus on efforts to further reduce impacts and
harm to Section 4(f) properties and the development of appropriate Section 4(f) mitigation and
enhancement opportunities.

In addition to Officials with Jurisdiction, the Section 4(f) Evaluation must be made available to the US
Department of the Interior (USDOI) and as needed, to the USDA and the Department of Housing and
Urban Development (23 C.F.R. §774.5). The Draft Section 4(f) Evaluation was provided to USDOI for review
in conjunction with the DEIS in July 2020. USDOI provided preliminary comments to MDOT SHA, but those
comments did not represent the formal consultation of FHWA with USDOI, as required under 23 C.F.R.
§774.5(a). USDOI will again be afforded the opportunity to review and provide comments on the Updated
Draft Section 4(f) Evaluation in conjunction with the SDEIS (Chapter 5 of this document). However, formal
coordination with USDOI is not expected to occur until the Final Section 4(f) Evaluation in coordination
with the FEIS as this will enable USDOI to provide comments on FHWA’s conclusions regarding the
existence of feasible and prudent avoidance alternatives, the inclusion of all possible planning to minimize
harm to Section 4(f) properties (including mitigation), and the least overall harm alternative.

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7.4 Incorporation of Public and Agency Input into the Study

Following the publication of the DEIS in July 2020, MDOT SHA has considered nearly 3,000 comments
submitted via email, phone, online and hard copy comment forms, and public testimony. MDOT SHA
communicated with many agencies, stakeholders, and members of the public to address their questions
and concerns through the following efforts:

e Aligning the Preferred Alternative and permitting process with the phased delivery approach
focusing on addressing the severe congestion at the American Legion Bridge as priority.

e Avoiding and significantly reducing property, community, historic, natural resource and parkland
impacts.

e Avoiding all residential and business displacements.

e Avoiding all ground disturbance at the historic Morningstar Tabernacle No. 88 Moses Hall and
Cemetery.

e Identifying appropriate on-site and off-site stormwater management to meet regulatory
requirements and removing or relocating stormwater management facilities from sensitive
resources including parks, where feasible.

¢ Monitoring and analyzing traffic impacts associated with the COVID-19 Pandemic to understand
any impacts to the Study.

* Committing to priority bicycle, pedestrian, and transit improvements to increase multi-modal
options for travel within the study corridors.

e Including toll-free travel under the Preferred Alternative for High Occupancy Vehicles with three
(3) or more user, transit buses, carpool/vanpool and motorcyclists to reduce the reliance on single
occupancy vehicles and provide equitable travel options.

e Removing the existing Collector-Distributor system on |-270 to largely stay within the existing
roadway footprint on |-270 to avoid and minimize environmental and property impacts.

This effort was possible through the extensive agency and stakeholder coordination that occurred since
publication of the DEIS in July 2020 including:

e Establishing Economic, Transit and Environmental Justice Working Groups

e Holding over 50 individual stakeholder Meetings with municipalities, non-governmental
organizations, elected officials and communities.

« Holding over 60 resource and regulatory agency meetings to discuss DEIS comments, avoidance,
minimization, and mitigation opportunities; and

e Holding over 40 field and office meetings with regulatory agencies to discuss natural resource
impacts, stormwater management, culvert augmentation and permitting.

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8 LIST OF PREPARERS

This SDEIS was prepared by FHWA and MDOT SHA with assistance from technical professionals. Key

supplement Draft Environmental Impact Statement

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9 DISTRIBUTION LIST

9.1 Federal Agencies

Advisory Council on Historic Preservation

Department of Defense, Joint Base Andrews

Federal Emergency Management Agency Region III

Federal Highway Administration

Federal Railroad Administration

Federal Transit Administration, Region 3

General Services Administration

National Capital Planning Commission

National Institute of Standards & Technology, Office of Facilities and Property Management
National Marine Fisheries Service, Greater Atlantic Regional Office

National Oceanic Atmospheric Administration

National Park Service, National Capital Regional Office

Naval Support Activity Bethesda

US Army Corps of Engineers, Baltimore District

US Coast Guard

US Department of Agriculture

US Department of Housing and Urban Development

US Department of the Interior, Office of Environmental Policy & Compliance
US Environmental Protection Agency, Region 3

US Postal Service, Westlake Carrier Annex Post Office/Capital Heights Post Office
US Fish and Wildlife Service, Chesapeake Bay Field Office

9.2 Federally Recognized Tribes

Absentee-Shawnee Tribe of Oklahoma
Delaware Nation

Delaware Tribe of Indians
Chickahominy Indian Tribe
Chickahominy Indians Eastern Division
Eastern Shawnee Tribe of Oklahoma
Monacan Indian Nation

Nansemond Indian Tribe

Oneida Indian Nation

Onondaga Nation

Pamunkey Indian Tribe

Rappahannock Tribe, Inc.

Saint Regis Mohawk Tribe
Seneca-Cayuga Nation

Shawnee Tribe

Tuscarora Nation

Upper Mattaponi Indian Tribe

9.3 State of Maryland Agencies

Maryland Department of Business and Economic Development
Maryland Department of the Environment, Wetlands and Waterways Program
Maryland Department of Natural Resources

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Maryland Department of Planning Clearinghouse

Maryland Department of Transportation, Maryland Transit Administration
Maryland Department of Transportation, Maryland Transportation Authority
Maryland Department of Transportation, Office of Planning & Capital Programming
Maryland Historical Trust

9.4 Commonwealth of Virginia Agencies

Virginia Department of Conservation and Recreation

Virginia Department of Environmental Quality, Office of Environmental Impact Review
Virginia Department of Forestry

Virginia Department of Wildlife Resources

Virginia Department of Health

Virginia Department of Historic Resources

Virginia Department of Transportation, Northern Virginia District

Virginia Marine Resources Commission

9.5 State Recognized and Other Tribal Groups

Piscataway Conoy Tribe of Maryland (PCT)

PCT - Cedarville Band of Piscataway

PCT - Choptico Band of Piscataway

Piscataway Conoy Confederacy and Subtribes of Maryland
Piscataway Indian Nation

9.6 County and Local Agencies

City of College Park

City of Gaithersburg

City of Greenbelt

City of New Carrollton

City of Rockville

Fairfax County

Maryland-National Capital Park and Planning Commission, Montgomery County Department of Parks
Maryland-National Capital Park and Planning Commission, Montgomery County Planning Board
Maryland-National Capital Park and Planning Commission, Montgomery County Planning Department
Maryland-National Capital Park and Planning Commission, Prince George’s County Parks and Recreation
Maryland-National Capital Park and Planning Commission, Prince George’s County Planning Board
Maryland-National Capital Park and Planning Commission, Prince George’s County Planning Department
Maryland-National Capital Park Police, Montgomery County

Maryland-National Capital Park Police, Prince George’s County

Metropolitan Washington Council of Governments, Department of Environmental Programs
Montgomery County, Department of Transportation

Montgomery County Executive's Office

Prince George’s County Department of Public Works and Transportation

Prince George’s County Executive’s Office

Washington Metropolitan Area Transit Authority

9.7 SDEIS Availability

The SDEIS can be viewed and downloaded from the Program website at: oplanesmd.com/SDEIS. Hard
copies of the SDEIS are available for review at public locations. Visit the project website to find where hard
copies of the SDEIS are available due to the uncertainties related to COVID-19.

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23 Code of Federal Regulations (CFR) § 774.11. Applicability.

23 Code of Federal Regulations (CFR) § 774.13(a, d, f). Exceptions.

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36 Code of Federal Regulations (CFR) § 800.2[c][5]. Participants in the Section 106 process; Consulting
parties; Additional consulting parties.

36 Code of Federal Regulations (CFR) § 800.3[f]. Initiation of the Section 106 Process; Identify other
consulting parties.

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adverse effect; Criteria of adverse effect.

36 Code of Federal Regulations (CFR) § 800.16[1]iii. Resolution of Adverse Effects.

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36 Code of Federal Regulations (CFR) § 800.14[b]. Federal Agency Program Alternatives;
Programmatic Agreements.

36 Code of Federal Regulations (CFR) § 800.16[I][1]. Protection of Historic Properties; Program
Alternatives; Definitions; Historic Property.

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40 Code of Federal Regulations (CFR) § 1508.8. Effects.

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